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                            FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT

         MACKENZIE BROWN, a single                  No. 20-15568
         woman,
                Plaintiff-Appellant,                  D.C. No.
                                                   2:17-cv-03536-
           v.                                           GMS

         STATE OF ARIZONA; ARIZONA
         BOARD OF REGENTS, DBA                        OPINION
         University of Arizona, a
         constitutionally created body
         corporate,
                     Defendants-Appellees,

          and

         RICHARD A. RODRIQUEZ; RITA
         RODRIQUEZ,
                Defendants,

           v.

         LIDA DEGROOTE,
                 Third-party-plaintiff.

                 Appeal from the United States District Court
                          for the District of Arizona
                G. Murray Snow, Chief District Judge, Presiding
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                 Argued and Submitted En Banc March 21, 2023
                             Pasadena, California

                            Filed September 25, 2023

              Before: Mary H. Murguia, Chief Judge, and William A.
                Fletcher, Johnnie B. Rawlinson, Milan D. Smith, Jr.,
                Jacqueline H. Nguyen, John B. Owens, Michelle T.
             Friedland, Ryan D. Nelson, Kenneth K. Lee, Lucy H. Koh
                          and Jennifer Sung, Circuit Judges.

                         Opinion by Judge W. Fletcher;
                        Concurrence by Judge Friedland;
                         Dissent by Judge Rawlinson;
                          Dissent by Judge R. Nelson;
                             Dissent by Judge Lee


                                   SUMMARY*


                                      Title IX

            The en banc court reversed the district court’s summary
         judgment in favor of the University of Arizona and
         remanded in an action brought under Title IX by Mackenzie
         Brown.
             Orlando Bradford, who was attending the University on
         a football scholarship, repeatedly and violently assaulted
         Brown, his fellow student, in an off-campus house where

         *
          This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         Bradford was living with other university football players.
         At the time of the assault, university officials knew that
         Bradford had repeatedly and violently assaulted two other
         female undergraduates the previous year. Brown sued the
         University under Title IX, contending that the University’s
         actions and omissions in response to Bradford’s violent
         assaults on the other female students deprived her of the full
         benefits of her education and that an appropriate response
         would have prevented Bradford’s assaults on her.
              The en banc court held that to obtain damages under Title
         IX for student-on-student harassment, a plaintiff must show
         (1) that the educational institution had substantial control
         over both the harasser and the context in which the known
         harassment occurs; (2) that the harassment was so severe,
         pervasive, and objectively offensive that it denied its victims
         the equal access to education that Title IX is designed to
         protect; (3) that a school official with authority to address
         the alleged discrimination and to institute corrective
         measures has actual knowledge of the discrimination; (4)
         that the school acted with deliberate indifference to the
         harassment; and (5) that the school’s deliberate indifference
         must, at a minimum, cause students to undergo harassment,
         or make them liable or vulnerable to it. At issue were the
         first, third, and fourth requirements.
             As to the first requirement, the en banc court held that it
         was clear that the University had substantial disciplinary
         control over Bradford, the harasser. The en banc court held
         that the University also had substantial control over the
         context in which the harassment occurred, even though it
         occurred off campus, because location is only one factor in
         determining the control over context. Considering all the
         circumstances of this case and viewing the facts in the light
         most favorable to Brown, the en banc court held that Brown
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         presented sufficient evidence to allow a reasonable
         factfinder to conclude that the University had substantial
         control over the context in which Bradford assaulted Brown.
         The University had control over the off-campus housing in
         which Bradford was living. In addition, the University’s
         Student Code of Conduct applied to student conduct both on-
         campus and off-campus, and Bradford was subject to
         increased supervision through Player Rules specific to
         football players.
             The en banc court held that there also was a sufficient
         showing as to the third requirement, actual knowledge, and
         the fourth requirement, deliberate indifference. The en banc
         court held that evidence in the record would support a
         conclusion by a reasonable factfinder that University
         officials had actual knowledge or notice of Bradford’s
         violent assaults, and that Erika Barnes, the University’s Title
         IX liaison within the Athletics Department, was an official
         who had authority to address Bradford’s assaults and to
         institute corrective measures. A reasonable factfinder also
         could conclude that Barnes’s response amounted to
         deliberate indifference.
             Concurring, Judge Friedland wrote that she concurred in
         the majority’s opinion in its entirety. She wrote separately
         to address a waiver argument raised in dissent. Judge
         Friedland wrote that, in proceedings before the three-judge
         panel, Brown disavowed the argument that the University
         exercised control over Bradford’s off-campus apartment, but
         a majority of the three-judge panel addressed that theory on
         its merits anyway. Because the majority’s holding on that
         theory was incorrect, and because Brown raised the issue in
         supplemental briefing to the en banc court, it was proper for
         the en banc court to address the issue.
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             Dissenting, Judge Rawlinson, joined by Judge Lee,
         wrote that the facts showed that the University had control
         over Bradford, the harasser, but not over the context in which
         the harassment occurred.
             Dissenting, Judge R. Nelson, joined by Judges
         Rawlinson and Lee, wrote that, before the district court and
         before the three-judge panel, Brown expressly disclaimed
         the position that the University controlled the context of the
         abuse in Bradford’s off-campus house, arguing instead that
         the control-over-context requirement was met because the
         University controlled Bradford’s previous abuse of two
         other female students. Therefore, the majority improperly
         rested its holding on this theory. Judge R. Nelson wrote that
         the majority got the merits wrong as well, because the
         evidence showed that the University did not control the
         context of Bradford’s abuse of Brown.
             Dissenting, Judge Lee, joined by Judge Rawlinson,
         wrote that courts have drifted from the text of Title IX, and
         a criminal act by a student in an off-campus house does not
         implicate an “education program or activity” under Title IX.
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                                COUNSEL

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                                  OPINION

         W. FLETCHER, Circuit Judge:
             Orlando Bradford, attending the University of Arizona
         on a football scholarship, repeatedly and violently assaulted
         his girlfriend and fellow student Mackenzie Brown over the
         course of several months in the summer and early fall of
         2016. Bradford’s last assaults were extremely violent. They
         took place on two successive nights in September, during
         Bradford’s sophomore year, in an off-campus house where
         Bradford was living with other university football players.
         Bradford and the other football players were allowed to live
         off-campus only because the coaches of the university
         football team had given them permission to do so. That
         permission was conditioned on good behavior.
             At the time of Bradford’s assaults on Brown, university
         officials knew that Bradford had repeatedly and violently
         assaulted two other female undergraduates during his
         freshman year. Despite this knowledge, those officials did
         not take steps to ensure that Bradford would not be a danger
         to Brown and other students. Undisputed evidence in the
         record shows that if Bradford’s coaches had been told of his
         assaults on the two other students, Bradford would have been
         kicked off the football team, would have lost his athletic
         scholarship, and likely would have been expelled from the
         University by the end of his freshman year, months before
         his assaults on Brown.
             Brown sued the University under Title IX of the
         Education Amendments of 1972, 20 U.S.C. §§ 1681–1688,
         contending that the University’s actions and omissions in
         response to Bradford’s violent assaults on two other female
         students deprived her of the full benefits of her education and
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         that an appropriate response would have prevented
         Bradford’s assaults on her. For simplicity, this opinion
         refers to all defendants collectively as the “University.”
             The district court granted summary judgment to the
         University, holding as a matter of law that the University did
         not exercise control over the “context” in which Bradford’s
         abuse of Brown occurred. A divided three-judge panel
         affirmed in a published opinion. Brown v. Arizona, 23 F.4th
         1173 (9th Cir. 2022), vacated by 56 F.4th 1169 (9th Cir.
         2022). We granted rehearing en banc. Brown, 56 F. 4th at
         1169–70.
             We hold that Brown presented sufficient evidence to
         allow a reasonable factfinder to conclude that a responsible
         university official exercised sufficient control over the
         “context” in which Bradford attacked Brown to support
         liability under Title IX. Davis ex rel. LaShonda D. v.
         Monroe Cnty. Bd. of Educ., 526 U.S. 629, 645 (1999). We
         further hold that she presented sufficient evidence to allow a
         reasonable factfinder to conclude that the University had
         “actual knowledge” of facts that required an appropriate
         response, and that a university official’s failure to escalate
         reports of Bradford’s actions was a “clearly unreasonable”
         response demonstrating the University’s “deliberate
         indifference.” Id. at 642–43, 648–49; see also Gebser v.
         Lago Vista Indep. Sch. Dist., 524 U.S. 274, 290 (1998).
                            I. Factual Background
             In reviewing the district court’s grant of summary
         judgment for the University, we view disputed evidence in
         the light most favorable to Brown, the non-moving party.
         See Karasek v. Regents of Univ. of Cal., 956 F.3d 1093, 1104
         (9th Cir. 2020) (citing Tauscher v. Phx. Bd. of Realtors, Inc.,
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         931 F.3d 959, 962 (9th Cir. 2019)). The evidence in the
         record is largely undisputed.
             Orlando Bradford enrolled as a freshman at the
         University of Arizona in the fall of 2015. He played on the
         football team and attended the University on an athletic
         scholarship. As will be described in greater detail below,
         during his time at the University, Bradford violently
         assaulted three women: Student A, Lida DeGroote, and
         plaintiff Mackenzie Brown. During his freshman year, he
         assaulted Student A multiple times and DeGroote over 100
         times. In the summer after his freshman year and in the fall
         of his sophomore year, he assaulted Brown between four and
         ten times.
             University officials learned of Bradford’s violent
         assaults on Student A and DeGroote during Bradford’s
         freshman year. As a result of Bradford’s assaults on Student
         A, the University issued a “no contact” order in April of his
         freshman year, forbidding him from contacting Student A
         either on or off campus. University officials never told the
         University Athletic Director or Bradford’s football coaches
         of his assaults on Student A or DeGroote.
             Bradford’s coaches gave him permission to live off
         campus for his sophomore year. On two successive nights
         that fall, in the off-campus house where he was living,
         Bradford dragged Brown by her hair, locked her in his room,
         and scratched, hit, kicked, and choked her. It is undisputed
         that if university officials had told Bradford’s coaches of his
         violent assaults on Student A and DeGroote, Bradford would
         have lost his football scholarship, been kicked off the
         football team, and likely been expelled from the University
         by the end of his freshman year.
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                       A. Student A and Lida DeGroote
              Student A was a member of the university softball team.
          She and Bradford met as high school students during an
          athletic recruiting trip to the University in January 2015.
          The University first learned about Bradford’s violence
          against Student A in the fall of 2015, at the start of their
          freshman year. On September 21, 2015, from the window
          of another building, four students saw Bradford and Student
          A physically fighting in a dormitory study room. The
          students knocked on the Resident Adviser’s (“RA”) door and
          told him what they had seen. The RA went to the other
          building to investigate. The RA talked with Bradford alone
          while Student A waited outside in the hallway. Bradford
          told the RA that the two of them were “just joking” and that
          Student A “was just mad at [him] regarding a situation that
          happened earlier.”
                The RA contacted the on-call University Community
          Director who instructed the RA not to call the police. The
          RA told university administrators that “this may have started
          off as a very serious physical and verbal altercation between
          . . . Bradford and . . . Student A.” The Community Director
          later spoke to Bradford and Student A together. He never
          talked to Student A alone. The Community Director wrote
          in a report that Bradford and Student A told him that they
          were “just joking” and “agreed that they w[ould] not engage
          in this type of behavior in the future.” An incident report
          was filed in “Advocate,” the University’s case management
          system.
              In late 2015, Student A’s parents learned of her abusive
          relationship with Bradford. A university police report
          recounted that Student A’s parents had told her head softball
          coach about Bradford’s violence against her after they had
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          broken up in November 2015. The coach recounted in a
          deposition that Student A’s mother had called him in January
          2016 and had told him that she and Student A’s father were
          concerned about their daughter’s relationship with Bradford
          and that they were relieved that they had broken up. The
          coach maintained in his deposition that he was unaware of
          any specific abuse and that Student A’s mother did not tell
          him in her January call what had disturbed them about
          Student A’s relationship with Bradford.
              In January 2016, after his conversation with Student A’s
          mother, the softball coach called Erika Barnes, the
          University’s Title IX liaison within the Athletics
          Department. Barnes’s formal title was Senior Associate
          Athletics Director, Senior Woman Administrator, and
          Deputy Title IX Coordinator for Athletics. Barnes recounted
          in her deposition that the coach informed her that “Student
          A and her boyfriend broke up,” that it was “not a good
          situation,” and that Student A was “really upset.” Barnes
          told the coach that she wanted Student A to meet with a
          school psychologist. She informed the psychologist that she
          wanted Student A to meet with her.
             Neither Barnes nor the softball coach contacted the
          University Athletic Director or anyone on the football
          coaching staff.
              Sometime after January, Bradford and Student A began
          to see each other again. On March 22, 2016, Student A
          arrived at a study hall with a black eye and finger marks on
          the side of her neck. Two of her teammates went to talk to
          the head softball coach. They told him that in the fall of
          2015, Bradford had pushed Student A up against a wall, put
          his hands around her neck, and choked her. The teammates
          also told him that Student A now had a black eye and finger
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          marks on her neck. One of them recounted that the coach
          told them that he knew about the situation with Student A
          and Bradford, and about efforts to keep the two apart.
              When Student A arrived at softball practice that day, an
          assistant softball coach saw the black eye and overheard
          conversations among the players saying that Student A’s
          boyfriend may have been responsible. He asked Student A
          what had happened. She replied that she had been hit by a
          door. The assistant softball coach called Barnes later that
          day.
              On March 23, the next day, the head softball coach told
          Student A’s two teammates that they should meet with
          Barnes and tell her everything they had told him. The two
          teammates met with Barnes that afternoon. Barnes took
          detailed notes of the conversation. The teammates told
          Barnes that Student A had told them that in the fall Bradford
          had pushed her up against the wall and choked her. They
          also described Student A’s current black eye and the finger
          marks on her neck. They told Barnes that Bradford had
          “threatened” Student A that if she reported the abuse, he
          would send compromising pictures of her “to her mother,
          grandmother, and everyone.”
              The softball teammates also told Barnes that they had
          heard that Bradford was hitting another girlfriend, Lida
          DeGroote, and that DeGroote often had bruises and marks
          all over her body. According to the notes taken by Barnes,
          the teammates reported hearing that Bradford had sent to
          unspecified persons a video “of Lida & O.B. [Orlando
          Bradford] having sex,” and that DeGroote’s friends say that
          “he hits her often.” They reported hearing that in front of
          others Bradford had kicked and thrown DeGroote’s dog into
          another room. The teammates told Barnes that Bradford’s
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          university roommate and best friend from high school in
          Louisiana had warned them that Bradford “had a violent
          past,” that Bradford was “not afraid to hurt someone,” and
          that “[people] need to be careful.”
              On March 24, Barnes called Student A into her office
          and asked her about her black eye. Student A reported that
          she was clumsy and had run into a door. Barnes then
          accompanied Student A to another building to meet with
          Susan Wilson, a Senior Title IX Investigator employed by
          the University, to “hear about [her] options” if she ever
          decided to file a complaint against Bradford. Barnes sat in
          on the meeting with Wilson. Barnes testified in her
          deposition that she had told Wilson about Student A’s black
          eye and Student A’s story that she had been hit by a door.
          Wilson testified in her deposition that she did not see a black
          eye and did not ask Student A about a black eye. Barnes and
          Wilson both testified that Student A told Wilson that
          Bradford had choked her. Neither Barnes nor Wilson asked
          follow-up questions about the choking.
             When Barnes returned to her office after the meeting
          with Wilson and Student A, she photocopied the notes she
          had taken during her interview with Student A’s two softball
          teammates the previous day. She sent the notes to Wilson
          and Dean of Students Kendal Washington White.
              Neither Barnes nor Wilson in the University’s Title IX
          office, nor anyone in the Dean of Students office, contacted
          the University Athletic Director or anyone on the football
          coaching staff about Bradford’s assaults on Student A and
          DeGroote.
              In her meeting with Barnes and Wilson, Student A had
          told them that Bradford might be living with a student named
          “Lida.” Barnes and Wilson thought that Student A might
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          have been referring to Lida DeGroote because, as Wilson
          stated in her deposition, “Lida’s an unusual name.” Barnes
          had already been in contact with DeGroote and her mother
          about various things, including credits for an internship.
          Wilson knew that Chrissy Lieberman, Associate Dean of
          Students, was “actively meeting and working with Lida
          DeGroote” concerning academic matters. Wilson went to
          Lieberman’s office and told her that a student by the name
          of Lida had been mentioned by another student and that
          DeGroote might be in a “concerning relationship.”
              Lieberman met with DeGroote on March 25, the next
          day, but the focus of the meeting was an academic matter.
          Lieberman tried indirectly to get DeGroote to talk about any
          other problems she might be having, but she did not ask
          DeGroote directly about her relationship with Bradford.
          DeGroote did not volunteer any information.
              On Saturday night, April 9, Bradford went to Student A’s
          dormitory room. He was intoxicated. For nearly two hours,
          he banged on Student A’s door yelling at her to let him in.
          Student A refused to open the door and repeatedly told
          Bradford to leave. Bradford finally left at about 1:30 a.m.
              On April 10, the next morning, Student A’s softball
          coach called Barnes to tell her about the incident in the
          dormitory. Barnes contacted Student A and asked if she
          wanted to call the police. When Student A replied that she
          did, Barnes called the University Police Department. Later
          that day, a university police officer met in Barnes’s office
          with Student A and Barnes. Student A told them about the
          door-banging incident and about Bradford’s previous
          assaults. Student A said that on at least three occasions
          Bradford had choked her to the point that she could not
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          breathe. Student A told them that she wanted to obtain a
          protective order.
              Later that same day, Barnes called Greg Byrne, the
          University Athletic Director. Barnes testified in her
          deposition that she told Byrne only about the door-banging
          incident. Barnes did not tell Byrne about Student A’s black
          eye, the finger marks on her neck, or the three choking
          incidents. Nor did Barnes tell Byrne about the reports that
          Bradford had been assaulting DeGroote.
              Byrne told Barnes that he would contact the head
          football coach, Richard Rodriguez. Because Rodriguez was
          traveling that day, Byrne spoke to Bradford’s position coach
          instead. The position coach and Byrne met with Bradford.
          They discussed the door-banging incident and gave Bradford
          “a lecture on underage drinking.” The position coach later
          talked to head coach Rodriguez about the door-banging
          incident. The position coach testified in his deposition that
          Bradford received three days of what he characterized as
          “physical punishment” for violating the team’s underage
          drinking rules.
              On April 11, 2016, on behalf of Student A, Wilson issued
          a no-contact order to Bradford. In relevant part, the order
          provided: “You are prohibited from having any contact with
          Student A . . . . This directive applies to both on and off
          campus contact.” Dean of Students White was informed that
          a no-contact order would be sent to Bradford. Bradford was
          reassigned to another dormitory for the remainder of his
          freshman year.
              The football team’s Player Rules required freshmen to
          live in a university dormitory. DeGroote testified in her
          deposition that even though Bradford was supposed to have
          been living in Student A’s dormitory, in fact he had been
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          staying at DeGroote’s house on “most nights” from January
          to April. Instead of moving to his assigned room in the new
          dormitory in April, Bradford moved into a teammate’s off-
          campus house for the remainder of his freshman year.
              On May 10, 2016, Lida DeGroote’s mother spoke on the
          telephone with Associate Dean Lieberman about
          DeGroote’s academic matters. As noted above, Lieberman
          had previously been alerted by Wilson that DeGroote was in
          a “concerning relationship.” During the conversation,
          DeGroote’s mother brought up the issue of DeGroote’s
          safety. DeGroote’s mother did not mention Bradford by
          name. She testified in her deposition that she told
          Lieberman: “Now we have another issue with her safety. I
          believe you saw the bruises on her when she was in there.”
          The reference was to bruises that Lieberman should have
          been able to observe during a meeting with DeGroote a
          month before. Lieberman did not respond. DeGroote’s
          mother testified it was “just crickets,” an “uncomfortable”
          silence.
                             B. Mackenzie Brown
             Bradford started dating Mackenzie Brown in February
          2016 while they were both freshmen. He started to
          physically abuse Brown during the summer of 2016 while
          she was at the University for summer session. By that
          summer, Bradford had moved into a different off-campus
          house that he shared with other members of the football
          team.
              Bradford needed permission from his coaches to move
          to an off-campus house after his freshman year. Head
          football coach Rodriguez testified in his deposition that
          football players other than freshmen were governed by
          Player Rule 15. The Rule provided: “Living off-campus is
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          subject to approval by head coach and position coach.”
          Rodriguez testified that he could require players to move
          back on campus if they behaved inappropriately. He
          testified: “I . . . kind of hung that over them, like, ‘Listen, if
          you are not being responsible in your appointments or
          whatever, then we can tell you to, you know, move back on
          campus.’”
              Brown testified in her deposition that Bradford
          physically abused her between four and ten times during
          their relationship. She testified that Bradford “would get
          upset about little things.” On one occasion during the
          summer, Brown was in Phoenix where her father lived.
          Bradford texted Brown, but Brown did not see the text right
          away. Bradford did not believe her when she replied later
          that she had not seen the text. “He told me I needed to leave
          where I was in Phoenix, even though he wasn’t [t]here. And
          I was like: No I’m not leaving. I’m in Phoenix. You’re in
          Tucson.” In August 2016, Bradford gave Brown a black eye:
          “He was upset about something, and I wasn’t saying
          anything back. . . . And he said: You don’t care. And he
          tried to like slap my hand off of my face, or something, or
          slap my face. And he hit my eye and then I had a black eye.”
          On another occasion, while they were at a Goodyear Tire
          store, Brown was scrolling through her contacts on her
          phone. Bradford saw the name “Josh” and asked her, “Oh,
          who is that?” Brown told Bradford that Josh was her work
          supervisor. “That made him upset. And then he like grabbed
          my arm and dug his nails into my arm. I have a scar.”
              Bradford sent threatening texts to Brown. After Brown
          refused to leave where she was in Phoenix, he texted her,
          “You’re disrespecting me. I’m going to show you what
          happens to people who disrespect me.” On another
          occasion, when Brown refused to use a phone application to
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          share her location with him, Bradford texted her: “You’re
          going to make me break your fucking face.”
              Bradford’s abuse escalated in the fall. On September 12,
          2016, Bradford purported to believe that Brown had
          scratched his car. Bradford and Brown were at Bradford’s
          off-campus house where he lived with other football players.
          Brown tried to go home, but Bradford would not let her
          leave. She testified in her deposition:

                 [H]e like was trying to pull me in and I didn’t
                 want to go, so I was like trying to stop myself
                 like plant my feet, and he pulled me into the
                 house. And then open the door, and then he
                 pushed me on the floor. . . . And then he was
                 yelling. And then he slapped me and I hit my
                 head on the cupboard[.] . . . [A]nd then he
                 started like dragging me by my hair to the
                 stairs. . . . And then like he was choking me
                 . . . on the staircase. . . . Then he said, . . . Say
                 goodbye to your mom. You’re never going
                 to talk to her again. . . . [T]hen he took me
                 upstairs . . . and he like locked the door and
                 took off his shirt. And he said: You’re about
                 to make me real mad. And . . . he was like
                 hitting me up side my head and pushing me
                 on the ground and hitting on my arms and my
                 legs.

          Bradford later took Brown to Safeway to get Tylenol.
          Brown asked to go home, but Bradford refused. Brown
          spent the night at Bradford’s house. Bradford took her home
          the next morning.
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              Brown was at Bradford’s house again the next day.
          Bradford went to Wendy’s with some friends. Brown told
          him she did not want anything, but Bradford brought her
          back a “Frosty.” Brown said she did not want it, so Bradford
          put it in the freezer. Another football player who lived in the
          house told Brown that it was “messed up” that she would not
          eat the Frosty, so Brown responded, “Okay, I’ll take a bite.”
          Bradford became angry, saying, “You listen to other people
          now instead of me.”
              Brown said she was going to call an Uber and go home.
          Bradford refused to allow her to go upstairs to get her things.
          Brown went out to the sidewalk and called an Uber.
          Bradford came outside, tried to take her phone, and grabbed
          her by the stomach to try to pull her into the house. He then
          convinced her to get into his car. “[T]hen he kind of like
          smacked me in my face and then like grabbed my hair, and
          then my nose started bleeding.” Brown went back inside to
          clean up the blood. Bradford followed Brown inside and
          began looking through Brown’s phone. He found Brown’s
          brother’s name with a phone number from a different area
          code than the rest of Brown’s family’s phone numbers.
          Bradford refused to believe that it was her brother’s number.
          She testified in her deposition: “And so then he got upset,
          and that’s like when he started hitting me again.” Sometime
          later, Bradford finally fell asleep.
              Brown stayed awake most of the night, waiting until she
          could call her mother. After Bradford dropped Brown off at
          her house in the morning on his way to football practice,
          Brown called her mother. Her mother called the police and
          University Athletic Director Byrne.
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              Brown went to her family doctor on September 16. She
          presented with:

                 psychological trauma, burst blood vessels in
                 the eye, bruising on the lower part of the
                 neck, likely concussion, intractable acute
                 post-traumatic headache, neck pain from
                 direct trauma (kicking and hitting) as well as
                 from strangulation, upper back pain, left rib
                 pain with breathing and movement, left upper
                 abdominal pain, abdominal contusions, . . .
                 head tenderness from hitting a cabinet and
                 being punched in the head during the attack,
                 scratches on her forehead, upper arm
                 contusions, circular contusions circling the
                 base of her neck, and contusions with
                 tenderness over her left rib area.

              Bradford was arrested on September 14. He received an
          interim suspension notification from the University that
          same day “due to [his] behavior that has been determined to
          present a substantial risk to members of the university
          community.” When DeGroote’s mother learned that
          Bradford was in police custody, she left an anonymous tip
          with the Tucson Police Department that Bradford had been
          abusing DeGroote. Bradford was expelled from the
          University on October 14. He was criminally charged based
          on his assaults on Brown and DeGroote, and he pleaded
          guilty to two counts of felony aggravated assault and
          domestic violence. In November 2017, Bradford was
          sentenced to five years in prison.
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                             II. Procedural History
              DeGroote and Brown each sued the University under
          Title IX in the federal District Court for the District of
          Arizona. Their cases were assigned to different judges.
              The district judge in DeGroote’s case denied DeGroote’s
          and the University’s cross-motions for summary judgment.
          DeGroote v. Ariz. Bd. of Regents, No. CV-18-00310-PHX-
          SRB, 2020 WL 10357074, at *12 (D. Ariz. Feb. 7, 2020).
          The judge held that DeGroote had presented sufficient
          evidence to allow a reasonable factfinder to conclude that the
          University: (1) had actual knowledge of Bradford’s abuse of
          DeGroote; (2) exercised substantial control over the
          “context” of Bradford’s abuse of DeGroote, including abuse
          that took place off-campus; and (3) had shown “deliberate
          indifference” to Bradford’s abuse. Id. The parties settled
          before trial.
              The district judge in Brown’s case granted summary
          judgment to the University. The judge held that Brown’s
          claim failed because none of the abuse, including the assaults
          on September 12 and 13, was in a “context” over which the
          University had substantial control. The judge concluded:

                 Plaintiff does not allege that any of her abuse
                 occurred on campus or in any other setting
                 under Defendants’ control. While it is
                 undeniable that Defendants exercised
                 substantial control over Bradford, Plaintiff
                 has not offered any evidence that Defendants
                 exercised control over the context in which
                 her abuse occurred. Defendants therefore
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                 cannot be liable for Plaintiff’s harassment
                 under Title IX.

          Brown v. Arizona, No. CV-17-03536-PHX-GMS, 2020 WL
          1170838, at *3 (D. Ariz. Mar. 11, 2020) (emphasis added).
          The judge did not reach any other issue.
              Brown timely appealed. Brown argued in her briefs to
          the three-judge panel of our court that because the University
          had substantial control over the context of Bradford’s known
          harassment of Student A and DeGroote, it necessarily had
          control over the context of Bradford’s September 12 and 13
          assaults on Brown in his off-campus house. Before our en
          banc court, Brown made a narrower argument. She
          contended that under the circumstances of this case in which
          the University had extensive authority over Bradford,
          including control over whether he could live off campus, the
          University had “substantial control” over the “context” in
          which he assaulted Brown.
               We are free to address this narrower argument. First,
          “we have the authority and discretion to decide questions
          first raised in a petition for rehearing en banc.” United States
          v. Hernandez-Estrada, 749 F.3d 1154, 1159 (9th Cir. 2014)
          (en banc). Brown raised the question of whether the
          University had control over the off-campus contexts where
          the assaults occurred in her petition for review en banc, and
          the University addressed the question in its response to the
          petition. The party presentation principle that our colleague
          Judge Nelson identifies in his dissent does not govern at the
          en banc stage here, where the parties “themselves have
          ‘frame[d] the issue for decision.’” Lee v. Fisher, 70 F.4th
          1129, 1154 (9th Cir. 2023) (en banc) (quoting United States
          v. Sineneng-Smith, 140 S. Ct. 1575, 1579 (2020)); see also
          Hernandez-Estrada, 749 F.3d at 1159.
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              Second, while Brown has made a narrower argument,
          she has not raised a new claim. See United States v.
          Pallares-Galan, 359 F.3d 1088, 1095 (9th Cir. 2004) (“As
          the Supreme Court has made clear, it is claims that are
          deemed waived or forfeited, not arguments.”). Rather,
          Brown raised an “alternative argument to support what has
          been [her] consistent claim from the beginning: that” the
          University violated Title IX by failing to prevent Bradford’s
          abuse of her. Id. United States v. Sineneng-Smith, 140 S.
          Ct. at 1580–82, is not to the contrary. The defendant in
          Sineneng-Smith initially claimed that her conduct was not
          proscribed by the criminal statute; in the alternative, she
          claimed that the statute was vague and did not provide fair
          notice that her conduct was criminal. Id. at 1580. She raised
          those same issues on appeal. Id. The three-judge panel then
          ordered further briefing from three non-party organizations
          on an issue that had never been raised by Sineneng-Smith.
          Id. at 1580–81. Unlike in Sineneng-Smith, our en banc panel
          has neither turned over the appeal to non-parties, nor
          “radical[ly] transform[ed]” the case by raising a new issue.
          Id. at 1581–82.
                            III. Standard of Review
              We review the district court’s grant of summary
          judgment de novo. Karasek v. Regents of Univ. of Cal., 956
          F.3d 1093, 1104 (9th Cir. 2020). We determine, viewing the
          evidence in the light most favorable to the nonmoving party,
          whether there are any genuine issues of material fact and
          whether the University is entitled to judgment as a matter of
          law. Id.; Fed. R. Civ. P. 56(c). “When determining whether
          a genuine issue of material fact exists, we ‘must draw all
          justifiable inferences in favor of the nonmoving party.’”
          Howard v. HMK Holdings, LLC, 988 F.3d 1185, 1189 (9th
          Cir. 2021) (quoting Suzuki Motor Corp. v. Consumers Union
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          of U.S., Inc., 330 F.3d 1110, 1132 (9th Cir. 2003)). “An
          issue of material fact is genuine if there is sufficient evidence
          for a reasonable jury to return a verdict for the non-moving
          party.” Karasek, 956 F.3d at 1104 (citation omitted).
                                  IV. Discussion
              Subject to exceptions not relevant here, Title IX
          provides: “No person in the United States shall, on the basis
          of sex, be excluded from participation in, be denied the
          benefits of, or be subjected to discrimination under any
          education program or activity receiving Federal financial
          assistance.” 20 U.S.C. § 1681(a). Gebser v. Lago Vista
          Independent School District, 524 U.S. 274 (1998), and Davis
          ex rel. LaShonda D. v. Monroe County Board of Education,
          526 U.S. 629 (1999), set out the guideposts for liability
          under Title IX. To obtain damages under Title IX for
          student-on-student harassment, a plaintiff must show (1) that
          the educational institution had “substantial control over both
          the harasser and the context in which the known harassment
          occurs,” Davis, 526 U.S. at 645; (2) that the harassment was
          so “severe, pervasive, and objectively offensive that it denies
          its victims the equal access to education that Title IX is
          designed to protect,” id. at 652; (3) that a school official with
          “authority to address the alleged discrimination and to
          institute corrective measures . . . has actual knowledge of
          [the] discrimination,” Gebser, 524 U.S. at 290; (4) that the
          school acted with “deliberate indifference” to the
          harassment, Davis, 526 U.S. at 633; and (5) that the school’s
          “[d]eliberate indifference ‘must, at a minimum, cause
          students to undergo harassment, or make them liable or
          vulnerable to it,’” Grabowski v. Arizona Board of Regents,
          69 F.4th 1110, 1120 (9th Cir. 2023) (quoting Davis, 526 U.S.
          at 645).
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              Because we review the district court’s grant of summary
          judgment de novo and because we can “affirm on any ground
          supported by the record,” including a ground upon which the
          district court did not rely, see Olson v. Morris, 188 F.3d
          1083, 1085 (9th Cir. 1999), the University asks us to hold
          that Brown has failed to satisfy the first, third, and fourth
          requirements—“substantial control” over the “context” of
          the harassment, “actual knowledge,” and “deliberate
          indifference.” We discuss these three requirements in turn.
                  A. “Substantial Control” over the “Context”
              The Supreme Court held in Davis that a damages remedy
          is not available under Title IX unless the defendant had
          “substantial control” over both the harasser and the
          “context” in which the harassment occurred. 526 U.S. at
          645. The plaintiff in Davis had been sexually harassed by
          another student at school. Id. at 633–35. The Court held that
          the school could be liable for failing to respond to complaints
          by the plaintiff and other students about the conduct of the
          harasser. Id. at 646–47, 649. The Court limited a school’s
          liability for student-on-student sexual harassment, however,
          to circumstances where the school “exercises substantial
          control over both the harasser and the context in which the
          known harassment occurs.” Id. at 645. Justice O’Connor
          wrote for the Court:

                 The statute’s plain language confines the
                 scope of prohibited conduct based on the
                 recipient’s degree of control over the
                 harasser and the environment in which the
                 harassment occurs. . . . [B]ecause the
                 harassment must occur “under” “the
                 operations of” a funding recipient, the
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                 harassment must take place in a context
                 subject to the school district’s control.

          Id. at 644–45 (quotation marks in original) (emphasis added)
          (citations omitted).
              The Court in Davis did not define “context,” but its
          meaning may be inferred from several passages in its
          opinion.     First, the Court explained that where the
          harassment occurs “during school hours and on school
          grounds,” the misconduct takes place “under” an “operation”
          of the school. Id. at 646. Second, the Court cited with
          approval a Seventh Circuit case in which the court had
          “[found] liability where [the] school fail[ed] to respond
          properly to ‘student-on-student sexual harassment that takes
          place while the students are involved in school activities or
          otherwise under the supervision of school employees.’” Id.
          (quoting Doe v. Univ. of Ill., 138 F.3d 653, 661 (7th Cir.
          1998)) (emphasis added). Finally, the Court articulated its
          holding on the “control” element: “We thus conclude that
          recipients of federal funding may be liable for ‘subject[ing]’
          their students to discrimination where the recipient is
          deliberately indifferent to known acts of student-on-student
          sexual harassment and the harasser is under the school’s
          disciplinary authority.” Id. at 646–47 (alteration in original)
          (emphasis added).
              These passages make clear that while the physical
          location of the harassment can be an important indicator of
          the school’s control over the “context” of the alleged
          harassment, a key consideration is whether the school has
          some form of disciplinary authority over the harasser in the
          setting in which the harassment takes place. See id. at 644
          (“Deliberate indifference makes sense as a theory of direct
          liability under Title IX only where the funding recipient has
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          some control over the alleged harassment. A recipient
          cannot be directly liable for its indifference where it lacks
          the authority to take remedial action.” (emphasis added)).
          That setting could be a school playground. But, depending
          on the circumstances, it could equally well be an off-campus
          field trip, an off-campus research project in a laboratory not
          owned by the school, or an off-campus residence. If the
          harassment occurs in such a setting—that is, in a “context”
          over which the institution has substantial control—the
          institution may be held liable for deliberate indifference
          under Title IX even though the harassment takes place off
          the physical property of the institution.
              In the case before us, it is clear that the University had
          substantial disciplinary control over Bradford, the harasser.
          The disputed question is whether it had substantial control
          over the context in which the harassment occurred.
          Fortunately, we do not write on a clean slate. Engaging in
          fact-specific inquiries, a number of courts have concluded
          that liability attaches under Title IX when harassment occurs
          off campus, so long as the educational institution has
          sufficient control over both the “harasser” and the “context”
          in which the harassment takes place.
              In Simpson v. University of Colorado Boulder, 500 F.3d
          1170 (10th Cir. 2007) (Hartz, McKay & Gorsuch, JJ.), two
          female undergraduates were sexually assaulted in an off-
          campus apartment by members of the university football
          team and by high school students who were being recruited
          for the team. Id. at 1172–73. The court recognized that the
          sexual assaults took place in a “context” over which the
          university had “substantial control,” even though they took
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          place in the off-campus apartment of one of the plaintiffs.
          Id. at 1173, 1177–78, 1785. The court wrote:

                 The CU football team recruited talented high-
                 school players each fall by bringing them to
                 campus. Part of the sales effort was to show
                 recruits “a good time.” To this end, recruits
                 were paired with female “Ambassadors,”
                 who showed them around campus, and
                 player-hosts, who were responsible for the
                 recruits’ entertainment. At least some of the
                 recruits who came to [the plaintiff’s]
                 apartment had been promised an opportunity
                 to have sex.

          Id. at 1173.
              Reversing the district court’s grant of summary
          judgment to the university, the Tenth Circuit held that
          plaintiffs had presented evidence sufficient to support a jury
          verdict under Title IX. Id. at 1185. The Tenth Circuit,
          describing the reach of Title IX, wrote that
          “[i]mplementation of an official policy can certainly be a
          circumstance in which the recipient exercises significant
          ‘control over the harasser and the environment in which the
          harassment occurs.’” Id. at 1178 (quoting Davis, 526 U.S.
          at 644). Viewing the evidence in the light most favorable to
          plaintiffs, the court held that the university had a policy of
          showing recruits “a good time”; that the sexual assaults in
          the off-campus apartment were caused by the university’s
          “failure to provide adequate supervision and guidance to
          player-hosts chosen to show the football recruits a ‘good
          time’”; and that “the likelihood of such misconduct was so
          obvious” that the university’s failure “was the result of
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          deliberate indifference.” Id. at 1173. In short, the Simpson
          court made clear that a university can exercise substantial
          control over an off-campus context when it facilitates the
          presence of both the perpetrators and victims of sexual
          violence at the site, chooses to minimize its own oversight
          of their activities, and thus increases the risk of assault.
              In Feminist Majority Foundation v. Hurley, 911 F.3d
          674 (4th Cir. 2018), a student organization, Feminists
          United, had spoken out against a student senate vote to
          authorize male-only fraternities at University of Mary
          Washington (“UMW”). Id. at 680. UMW students debated
          the issue through anonymous posts on Yik Yak, a social
          media platform that allowed users to communicate with each
          other within a 1.5-mile radius, such that the “harassing and
          threatening messages originated on or within the immediate
          vicinity of the UMW campus.” Id. at 680 n.1, 687. Between
          November 2014 and the summer of 2015, UMW students
          posted hundreds of harassing messages on the Yik Yak
          platform, many threatening “physical and sexual violence”
          against members of Feminists United. Id. at 680, 682, 684.
              The Fourth Circuit held that UMW had substantial
          control over the context of the harassment conducted over
          Yik Yak, as “the harassing and threatening messages
          originated on or within the immediate vicinity of the UMW
          campus.” Id. at 687 (emphasis added). Even though the
          offending posts on Yik Yak were anonymous, plaintiffs
          contended that UMW exercised control over the context of
          the harassment because it had some ability to identify the
          harassers. “If the University had pinpointed the harassers, it
          could then have circumscribed their use of UMW’s
          network.” Id. at 688. The court discussed the range of other
          remedial measures that the University had at its disposal: (1)
          “[T]he University could have disabled access to Yik Yak
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          campuswide”; (2) “UMW administrators could have more
          clearly communicated to the student body that the University
          would not tolerate sexually harassing behavior”; (3) “[t]he
          University also could have conducted mandatory assemblies
          to explain and discourage cyber bullying and sex
          discrimination”; and (4) the University “could have provided
          anti-sexual harassment training to the entire student body
          and faculty.” Id. at 688. In other words, the Feminist
          Majority court held that a university has substantial control
          over an off-campus context when it has the ability to take
          actions that would likely prevent harassment in the
          immediate vicinity of the campus.
              In Weckhorst v. Kansas State University, 241 F. Supp.
          3d 1154 (D. Kan. 2017), aff’d sub nom. Farmer v. Kansas
          State University, 918 F.3d 1094 (10th Cir. 2019), the
          plaintiff was a female student at Kansas State University
          (“KSU”). Id. at 1159. She alleged in her complaint that she
          attended an off-campus fraternity event where she became
          intoxicated. Id. at 1159. J.F., a fellow student at KSU and a
          designated driver for his fraternity, took the plaintiff into his
          truck and raped her in front of about fifteen KSU students.
          Id. J.F. then drove her back to his off-campus fraternity
          house and assaulted her on the way. Id. When they arrived
          at the fraternity house, he raped her again, left her alone,
          naked and passed out, and another KSU student and member
          of the fraternity, J.G., raped her two more times. Id.
              The University refused to discipline J.F. and J.G. on the
          ground that the rapes had taken place off campus. Id. at
          1160. The plaintiff suffered from symptoms of post-
          traumatic stress disorder, stopped going to class, and
          ultimately lost her scholarship. Id. at 1163–64. She sued
          under Title IX, alleging deliberate indifference by KSU. Id.
          at 1164.
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              The district court held that the University had sufficient
          control over the off-campus contexts to warrant Title IX
          liability. Id. at 1168. In support, the court cited a number of
          factual allegations in the complaint: (1) KSU fraternities
          were open only to KSU students and are described on the
          University’s website as “Kansas State University
          Organizations”; (2) the director of the fraternity at issue was
          a university instructor; (3) the University promoted its
          fraternities to prospective students and parents; (4) the
          University had five employees specifically charged with
          supporting and advising fraternities and sororities; (5) the
          University had the authority to regulate fraternities,
          including promulgating rules for parties; and (6) the Dean of
          Student Life approved the suspension of the fraternity for its
          use of alcohol at the party where the plaintiff was raped. Id.
          at 1167. In sum, the oversight of the relevant organization
          by a school staff member, regulatory authority by the school,
          and strong affiliation of the fraternity with the school were
          sufficient, when considered together, to establish control
          over the off-campus contexts where the plaintiff was raped.
              In Roe ex rel. Callahan v. Gustine Unified School
          District, 678 F. Supp. 2d 1008 (E.D. Cal. 2009), the court
          held that a school had substantial control over the context
          where upper-class teammates sexually assaulted and
          harassed the plaintiff at an off-campus summer football
          camp. Id. at 1011, 1025. The court so held because (1) the
          camp was sponsored and promoted by the high school and
          the district’s coaches; (2) the players were supervised at the
          camp by district employees; and (3) the camp was governed
          by a district Administrative Directive that outlined
          supervision ratios and disciplinary procedures. Id. at 1025.
          In determining that the school had substantial control over
          the off-campus context, the district court considered the
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          school’s connection to the location where the harassment
          took place as well as the school’s disciplinary authority over
          both the setting and the individuals involved.
              In the case before us, the district court held as a matter
          of law that the University did not have substantial control
          over the context in which Bradford’s September 12 and 13
          assaults on Brown occurred because the assaults took place
          off campus.
              Depending on the circumstances of the case, the location
          of harassment can be important in a student-on-student Title
          IX case. But location is only one factor in determining the
          control over context. Considering all the circumstances of
          this case and viewing the facts in the light most favorable to
          Brown, we hold that Brown presented sufficient evidence to
          allow a reasonable factfinder to conclude the University had
          “substantial control” over the “context” in which Bradford
          assaulted Brown on September 12 and 13.
              There is undisputed evidence that the University had
          control over the off-campus housing in which Bradford was
          living while attending the University. After he finished his
          freshman year, Bradford moved into another off-campus
          house with other members of the football team. The
          University and football program allowed Bradford and his
          teammates to live off campus only with the permission of
          their coaches. Head coach Rodriguez testified in his
          deposition that under Player Rule 15, permission to live off
          campus was conditioned on good behavior and could be
          revoked. The very existence of this off-campus players’
          residence was therefore subject to the coaches’ control.
          Even behavior as innocuous as being late to appointments or
          receiving bad grades could result in players’ being forced to
          move back on campus.
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              The University’s Student Code of Conduct applies to
          student conduct “both on-campus and off-campus” because
          off-campus misconduct can affect student health, safety, and
          security as much as on-campus misconduct can. The Code
          “seeks to hold students and organizations accountable for
          misconduct and to prevent it from happening again in the
          future.” The University issued a no-contact order to
          Bradford on behalf of Student A that expressly applied both
          to on-campus and off-campus spaces. As the dissenters
          recognize, an element of “school sanction, sponsorship, or
          connection to a school function is required” for a school to
          control an off-campus context. Here, the University’s rules
          and “sanction” authority created such a connection.
              This discipline-related factor was critical in both Roe and
          Weckhorst. See 678 F. Supp. 2d at 1025; 241 F. Supp. 3d at
          1167. In those cases, the schools imposed heightened
          supervisory control and specific rules over the football camp
          and university fraternities, respectively. Id. Also, in
          Feminist Majority, the Fourth Circuit identified all the
          disciplinary and remedial tools that UMW could have
          mobilized to mitigate or prevent the on- and off-campus
          harassment. 911 F.3d at 688.
              In addition to the Code of Conduct applicable to all
          students, Bradford was subject to increased supervision
          through Player Rules specific to football players. Cf. Roe,
          678 F. Supp. 2d at 1025; Weckhorst, 241 F. Supp. 3d at 1167.
          The Player Rules required all freshmen team members to
          live in university dormitories. Bradford flouted the rules
          during his freshman year. Even though Bradford had an
          assigned dormitory room, DeGroote testified that he stayed
          at her off-campus house “most nights” from January to
          “around” April 2016, when she “kicked him out.” When
          Bradford was no longer allowed to live in the same
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          dormitory as Student A in mid-April because of the no-
          contact order, Bradford moved off campus entirely, into a
          house shared with another football player. Had university
          officials or football staff members chosen to investigate,
          they could have enforced the Player Rules, requiring
          Bradford to live in university dormitories during the entirety
          of his freshman year. This heightened level of control and
          disciplinary power strengthened the connection between
          Bradford’s off-campus housing and the University’s football
          program.
              Rodriguez testified that the football team had a zero-
          tolerance policy for violence against women. He testified
          that a player’s violence against women would lead to
          immediate dismissal from the team. Rodriguez testified that
          the “first time” he heard about Bradford “doing anything
          physically violent to his girlfriend” was the day he kicked
          him off the team. Rodriguez said that if he had known
          earlier, he “certainly” “would have kicked him off earlier.”
          According to Rodriguez’s undisputed testimony, had he
          been informed of Bradford’s assaults on Student A and
          DeGroote during Bradford’s freshman year, Bradford would
          have been kicked off the team, and accordingly would have
          lost his football scholarship. Even if he had engaged in
          lesser misconduct, he would never have been permitted to
          live off campus while a member of the team. As in Simpson,
          the University failed to impose its supervisory power and
          disciplinary authority over an off-campus context, despite
          having notice of the high risk of misconduct. See 500 F.3d
          at 1173.      A reasonable factfinder could infer from
          Rodriguez’s testimony that, had Rodriguez known of
          Bradford’s assaults on Student A and DeGroote, Bradford’s
          September 12 and 13 assaults on Brown at his off-campus
          house would never have occurred.
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              Brown submitted an expert report to the district court.
          Among other things, the expert wrote that the University had
          control over where Bradford lived. “Student-athletes,
          especially those at large Division I ‘Power 5’ conference
          schools, . . . are told where they can live, where and when
          they will be places—including practices, games, housing,
          meals, and study time. They are given clear expectations for
          behavior when not in school or at practice[.]”
             Viewing this evidence in the light most favorable to
          Brown, a reasonable factfinder could conclude that the
          University had “substantial control” over the “context” in
          which Bradford violently assaulted Brown on September 12
          and 13.
             B. “Actual Knowledge” and “Deliberate Indifference”
               The district court addressed only the requirement that
          Brown show that the University had substantial control over
          the “context” in which her abuse occurred. It did not address
          either the “actual knowledge” or “deliberate indifference”
          requirements to establish a Title IX claim based on student-
          on-student sexual harassment. We could remand to allow
          the district court to address these two requirements in the
          first instance. However, in the interest of judicial efficiency,
          we address them now. See Harris Rutsky & Co. Ins. Servs.
          v. Bell & Clements Ltd., 328 F.3d 1122, 1136 (9th Cir.
          2003); Dole Food Co. v. Watts, 303 F.3d 1104, 1117–18 (9th
          Cir. 2002) (“Because the record is sufficiently developed
          and the issue has been presented and argued to us, we agree
          that it is appropriate for us to decide the question.”).
                             1. “Actual Knowledge”
             The Supreme Court held in Gebser that a damages
          remedy under Title IX is not available “unless an official
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          who at a minimum has authority to address the alleged
          discrimination and to institute corrective measures . . . has
          actual knowledge of discrimination . . . and fails adequately
          to respond.” 524 U.S. at 290 (emphasis added). Neither
          respondeat superior nor constructive knowledge is
          sufficient. Id. at 285; see also Davis, 526 U.S. at 642.
              We agree with the Fourth Circuit that “actual
          knowledge,” as used by the Court in Gebser, means either
          actual knowledge or actual notice. See Doe v. Fairfax Cnty.
          Sch. Bd., 1 F.4th 257, 266–68 (4th Cir. 2021). The Court in
          Gebser wrote that an official must be “advised of a Title IX
          violation.” 524 U.S. at 290 (emphasis added). The Fourth
          Circuit construed this passage to mean that “a school has
          actual notice or knowledge when it is informed or notified of
          the alleged harassment—most likely via a report.” Doe, 1
          F.4th at 266. Further, the Court in Gebser denied liability on
          the ground that the information reaching the principal of the
          school was “plainly insufficient to alert the principal to the
          possibility that [the teacher] was involved in a sexual
          relationship with [the student plaintiff].” 524 U.S. at 291
          (emphasis added). In Davis, decided a year after Gebser, the
          Court indicated that its definition of “knowledge” included
          “notice,” holding that the plaintiff could establish liability by
          showing that the school board had failed to respond to “five
          months [of] complaints of [the alleged harasser’s] in-school
          misconduct.” 526 U.S. at 649 (emphasis added); see also
          Doe v. Galster, 768 F.3d 611, 614 (7th Cir. 2014) (“To have
          actual knowledge of an incident, school officials must have
          witnessed it or received a report of it.” (emphasis added)).
              In its brief to us, the University seeks to minimize the
          knowledge of, or notice given to, responsible university
          officials. The University writes, “[Brown] has pointed to no
          authority or evidence that allows such a leap—that notice
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          about a single incident where Student A was not harmed was
          notice that all women were substantially at risk of Bradford’s
          violence or harassment.” (Emphasis added). The University
          substantially understates the matter. Responsible university
          officials had actual knowledge and notice of far more than
          “a single incident” in which Student A “was not harmed.”
              As recounted above, in the fall of 2015, an RA
          investigated and reported a physical fight between Bradford
          and Student A, but university administrators declined to
          inform the police or take further action. Once Student A’s
          softball coach learned from her parents about Braford’s
          abuse in early 2016, the coach called Erika Barnes, the
          Senior Associate Athletics Director, Senior Woman
          Administrator, and Deputy Title IX Coordinator for
          Athletics. Barnes learned about the parents’ concerns with
          the relationship, and accordingly sent Student A to meet with
          a school psychologist.
              On March 23, 2016, two of Student A’s softball
          teammates told Barnes that Student A was Bradford’s
          girlfriend; that Student A had told them that in the fall
          Bradford had pushed her up against a wall and had choked
          her; and that Student A currently had a black eye and
          fingermarks on her neck. They told Barnes that Bradford
          had also assaulted another girlfriend, DeGroote; that
          Bradford often hit DeGroote and that she often had bruises
          and marks all over her body; that Bradford had sent to
          unspecified persons a video of DeGroote having sex with
          him; and that Bradford had kicked and thrown DeGroote’s
          dog into another room. The teammates also told Barnes that
          Bradford’s university roommate and best friend from high
          school had warned them that Bradford “had a violent past”;
          that Bradford was not afraid “to hurt someone”; and that
          “[people] need to be careful.”
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              On March 24, Barnes and Susan Wilson, Senior Title IX
          Investigator, interviewed Student A. During the interview,
          Student A told Barnes and Wilson that Bradford had choked
          her. She also told them that Bradford might be living with
          another student, “Lida.”
              Wilson then informed the Associate Dean of Students,
          Chrissy Lieberman, that she had heard thirdhand “that there
          was potential that Lida was in a concerning relationship.”
          Wilson asked Lieberman to check in with Lida about the
          relationship. Lieberman never did so.
              On April 10, Barnes and a university police officer
          interviewed Student A. Student A told Barnes and the police
          officer that Bradford had choked her on three occasions to
          the point where she could not breathe. She also told the
          police officer that she wanted a protective order against
          Bradford. Wilson then issued one.
              Later on April 10, after Bradford had banged on Student
          A’s dormitory room door the previous night, Barnes called
          Byrne, the University’s Athletic Director, to report the door-
          banging incident. Barnes told Byrne that Bradford had been
          intoxicated and that he had banged on Student A’s door for
          nearly two hours. In response to Barnes’s call, Byrne
          notified Bradford’s position coach on the football team.
          Rodriguez, the head coach of the football team, was out of
          town but was notified later. As a result of Barnes’s report to
          Byrne, Bradford was subjected to “a lecture on underage
          drinking” and three days of “physical punishment.” While
          Barnes’s report to Byrne was radically incomplete (as we
          discuss in the next section), this chain of events shows that
          Barnes had the “authority to address” Bradford’s behavior
          and “to institute corrective measures.” See Gebser, 524 U.S.
          at 290.
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              We therefore hold that evidence in the record would
          support a conclusion by a reasonable factfinder that
          University officials had actual knowledge or notice of
          Bradford’s violent assaults, and that Barnes was “an official
          who . . . ha[d] authority to address [Bradford’s violent
          assaults on Student A and DeGroote] and to institute
          corrective measures.” Id.
                           2. “Deliberate Indifference”
              The Supreme Court held in Davis that an educational
          institution is liable under Title IX only if it is “deliberately
          indifferent” to student-on-student harassment. 526 U.S. at
          646–47. The Court wrote that an educational institution
          covered by Title IX can be “deemed ‘deliberately
          indifferent’ to acts of student-on-student harassment only
          where the [institution’s] response to the harassment . . . is
          clearly unreasonable in light of the known circumstances.”
          Id. at 648.
              “Clearly unreasonable” responses take many forms. See,
          e.g., Doe v. Sch. Dist. No. 1, Denver, Colo., 970 F.3d 1300,
          1304 (10th Cir. 2020) (holding that a school administration’s
          failure to investigate numerous complaints of harassment
          and taking “little if any[]” action to prevent the harassment
          was unreasonable). Several decisions by our sister circuits
          are particularly on point.
              In Simpson, the Tenth Circuit case involving CU football
          recruits, the University had failed to address numerous
          instances of sexual assault and harassment in the years prior
          to the rapes at issue. 500 F.3d at 1181–83. The University
          had known that two recruits had assaulted a high-school girl
          at an off-campus hotel party hosted by a CU football player
          in 1997. Id. at 1181. After a meeting with the District
          Attorney’s office “to work to prevent these . . . kinds of
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          events from occurring,” “none of the eventual recruiting or
          policy changes—the most substantive of which was
          apparently a ban on alcohol or tobacco for recruits—
          addressed either sexual contact between recruits and females
          or the responsibilities of player-hosts.” Id. at 1182. The
          abusive culture persisted. The father of a female player on
          the predominantly male team reported to the head coach and
          the athletic director “about multiple instances of sexual
          harassment of [his] daughter by CU football players, which
          the coaching staff had allowed to continue.” Id. at 1183.
          When the player made additional complaints, the head coach
          and the athletic director “retaliated against her by preventing
          her from staying on the football team and interfered with her
          playing elsewhere.” Id. Then, in September 2001, a football
          player raped a female student employed by the athletic
          department, and the head coach discouraged her from
          pressing charges. Id.
              The Tenth Circuit observed that in light of the
          university’s knowledge of the foregoing, the “central
          question” was whether there was an “obvious” risk that a
          future Title IX violation would occur. Id. at 1180–81. The
          court held that the evidence before the district court could
          support finding that (1) the head coach “had general
          knowledge of the serious risk of sexual harassment and
          assault during college-football recruiting efforts; (2) [he]
          knew that such assaults had indeed occurred during . . .
          recruiting visits; (3) [he] nevertheless maintained an
          unsupervised player-host program to show high-school
          recruits a ‘good time’; and (4) [he] knew, both because of
          incidents reported to him and because of his own
          unsupportive attitude, that there had been no change in
          atmosphere” since the earlier assault. The court held that
          “[a] jury could infer that ‘the need for more or different
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          training of player-hosts was so obvious, and the inadequacy
          so likely to result in Title IX violations, that the head coach
          could reasonably be said to have been deliberately
          indifferent to the need.’” Id. at 1184–85 (quoting City of
          Canton v. Harris, 489 U.S. 378, 390 (1989)) (cleaned up).
              In Vance v. Spencer County Public School District, 231
          F.3d 253 (6th Cir. 2000), the Sixth Circuit found that a
          school was deliberately indifferent to ongoing physical and
          sexual harassment. Id. at 262. The principal was informed
          that the plaintiff experienced harassment, and the plaintiff’s
          mother filed a detailed complaint with the Title IX
          coordinator. Id. at 262–63. The school did not investigate
          or discipline anyone. Id. at 262. School officials merely
          “talked” to the students harassing the plaintiff, which only
          increased the harassment. Id.
              In Williams v. Board of Regents of University System of
          Georgia, 477 F.3d 1282 (11th Cir. 2007), the Eleventh
          Circuit held that the plaintiff adequately alleged deliberate
          indifference by the University of Georgia to state a Title IX
          claim. Id. at 1296–97. A basketball player, Tony Cole, had
          invited the plaintiff over to his dormitory. Id. at 1288. After
          they engaged in consensual sex, Cole encouraged his
          teammate and two football players to sexually assault the
          plaintiff. Id. The head coach, athletic director, and
          university president knew that Cole had previously been
          expelled from another school for sexually assaulting two
          women and had been dismissed from a team at another
          school for disciplinary problems, including sexually
          harassing a woman. Id. at 1289–90. Despite this knowledge,
          they still recruited and admitted Cole through a special
          admissions process, providing him a full scholarship. Id. at
          1290. The school also “failed to inform student-athletes
          about the applicable sexual harassment policy,” id. at 1297,
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          after “UGA officials received suggestions from student-
          athletes that coaches needed to inform the student-athletes
          about” it, id. at 1290.
              In Hall v. Millersville University, 22 F.4th 397 (3d Cir.
          2022), parents sued Millersville University under Title IX
          after their daughter was murdered in her dorm room by her
          non-student boyfriend. Id. at 399. Four months before the
          murder, in October 2014, a resident assistant had provided
          an incident report to the university’s Deputy Title IX
          Coordinator and its Area Coordinator after she heard and
          then intervened in a fight between the victim and her
          boyfriend. See id. at 400–01. The Title IX officials never
          sent the report to the university’s Title IX Coordinator, as
          required by university policy. Id. at 401–02. The university
          also did not reach out to the victim after the October incident.
          Id. at 411. Nor did it respond after her roommate’s mother
          called the school to report that the victim had been assaulted
          and had a black eye. Id. at 401. The court held that these
          facts established that a reasonable juror could find that the
          university was deliberately indifferent. Id. at 411.
             As noted above, Barnes chose to report to Athletic
          Director Byrne only that Bradford had yelled and banged on
          Student A’s dormitory room door for almost two hours. That
          Bradford had done this was already public knowledge.
          Barnes chose not to report to Byrne Bradford’s actions that
          were not public knowledge. She chose not to report
          Bradford’s repeated violent assaults on Student A and
          DeGroote; not to report that Bradford had threatened to send
          compromising pictures to Student A’s family members if she
          reported his violence; not to report that Bradford had sent to
          unspecified persons a video of DeGroote having sex with
          him; and not to report that Bradford’s university roommate
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          and best friend from high school had warned Student A’s
          teammates that Bradford was a violent person.
              Other officials had information about Bradford’s
          violence towards Student A and DeGroote and chose not to
          report or investigate.     In fall 2015, the University
          Community Director instructed an RA not to call the police
          after he learned of a physical fight between Bradford and
          Student A. Additionally, as discussed above, Senior Title IX
          Investigator Susan Wilson requested that Associate Dean of
          Students Chrissy Lieberman follow up about DeGroote’s
          potentially concerning relationship. Lieberman met with
          DeGroote but did not check in about the relationship.
              As in Hall, Title IX officials failed to report critical facts
          about Bradford’s actions. See 22 F.4th at 401–02. Further,
          as in Simpson, the University had knowledge of prior
          harassment and assaults, such that there was an “obvious”
          risk that without intervention, a future Title IX violation
          would occur. 500 F.3d at 1180–81.
              Given Barnes’s report to Athletic Director Byrne, a
          reasonable factfinder could conclude that Barnes’s
          responsibilities included reporting to Byrne, or to other
          responsible parties in the Athletic Department, student-on-
          student harassment by university athletes. A reasonable
          factfinder also could conclude that Barnes’s reporting only
          Bradford’s yelling and banging on Student A’s dormitory
          room door while failing to report his much more serious
          behavior was “clearly unreasonable in light of the known
          circumstances.” Davis, 526 U.S. at 648. That is, a
          reasonable factfinder could conclude that Barnes’s response
          amounted to “deliberate indifference.” Id.
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                                   Conclusion
               We hold that a reasonable factfinder, viewing the
          evidence in the light most favorable to Brown and drawing
          all justifiable inferences in her favor, could conclude that the
          University had “substantial control” over the “context” in
          which Bradford violently assaulted Brown; that Barnes, an
          official with “authority to address” student-on-student
          harassment and “to institute corrective measures,” had
          “actual knowledge” of Bradford’s violence against Student
          A and DeGroote; and that Barnes’s response was “clearly
          unreasonable in light of the known circumstances,”
          demonstrating the University’s “deliberate indifference” to
          the danger Bradford posed to other female students at the
          University.
             We reverse and remand for further proceedings
          consistent with this opinion.
               REVERSED and REMANDED.


          FRIEDLAND, Circuit Judge, concurring:
              I concur in Judge Fletcher’s thoughtful opinion in its
          entirety. I write separately to address the waiver argument
          raised by Judge Nelson and Judge Rawlinson in their
          respective dissents.
             In proceedings before the three-judge panel, Brown did,
          in my view, disavow the argument that the University
          exercised control over Bradford’s off-campus apartment.
          But a majority of the three-judge panel addressed that theory
          on its merits anyway, devoting more than twice as much
          space to it than to the argument that Brown herself advanced.
          Brown v. Arizona, 23 F.4th 1173, 1181-83 (9th Cir. 2022).
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          Had the three-judge panel merely disposed of the control-
          over-off-campus-apartment theory on waiver or forfeiture
          grounds—which it could have done in an unpublished
          memorandum disposition—there likely would not have been
          a rehearing en banc. And if there still had been a rehearing
          en banc, I likely would have thought it inappropriate for the
          en banc panel to resolve this case based on a theory that
          Brown herself disclaimed. When we publish opinions
          addressing arguments on their merits, however, it is crucial
          that we get the law right―and I agree with Judge Fletcher
          that the majority opinion for the three-judge panel got the
          law wrong.
              The University’s control over the context of Bradford’s
          abuse of Brown was the basis for the en banc call in this case.
          After a majority of the active judges on our court voted to
          rehear this case en banc, Brown sought to file a supplemental
          brief addressing that issue, noting that the vacated opinion
          “reached an issue of significant public importance that was
          not the subject of adversarial party briefing.” The en banc
          panel granted Brown’s motion, and both parties filed
          supplemental briefs addressing the University’s control over
          the context in which Bradford abused Brown. When an
          opinion by a three-judge panel resolves a legal claim and
          “the case is called en banc on grounds that would correct the
          opinion but which were not raised before the original panel,
          the en banc panel [is] certainly . . . permitted, if not
          encouraged, to decide the case on the correct, unraised
          grounds.” Socop-Gonzalez v. I.N.S., 272 F.3d 1176, 1186
          n.8 (9th Cir. 2001) (en banc), overruled on other grounds by
          Smith v. Davis, 953 F.3d 582, 599 (9th Cir. 2020) (en banc);
          see also United States v. Hernandez-Estrada, 749 F.3d 1154,
          1159-60 (9th Cir. 2014) (en banc) (addressing an issue raised
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          in a concurrence by a member of a three-judge panel and
          further developed in en banc briefing).
              Because Brown has now “unquestionably raised” her
          argument that the University exercised substantial control
          over the context in which she was abused, I believe it is
          proper for the en banc panel to address that issue. Socop-
          Gonzalez, 272 F.3d at 1186 n.8. On remand, however, the
          University should be permitted to reopen discovery, if there
          is discovery that the University would have conducted had
          Brown advanced this theory from the outset.


          RAWLINSON, Circuit Judge, with whom LEE, Circuit
          Judge, joins, dissenting:
              I will be the first to say that what happened to Ms. Brown
          at the hands of serial offender Orlando Bradford, a football
          player at the University of Arizona, was a horrific experience
          that no one should have to endure. But the question before
          us is not whether we abhor the abominable conduct to which
          Ms. Brown was subjected. The question before us is whether
          Ms. Brown can recover damages from the University of
          Arizona under Title IX. Because the circumstances of this
          case do not fall within the parameters of Title IX as enacted
          and as interpreted by the United States Supreme Court, I
          respectfully dissent.
              As context is a pivotal part of this case, it might be
          helpful to recall the context surrounding the enactment of
          Title IX. Title IX initially emerged as a mechanism for
          ensuring that female athletes were provided equal
          opportunity for participating in athletic programs and other
          activities conducted under the auspices of educational
          institutions receiving federal funds. See 20 U.S.C.A.
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          § 1681(a) (“No person in the United States shall, on the basis
          of sex, be excluded from participation in, be denied the
          benefits of, or be subjected to discrimination under any
          education program or activity receiving Federal
          assistance . . .”) (emphasis added); see also Breaking Down
          Barriers, A Legal Guide To Title IX and Athletic
          Opportunities, National Women’s Law Center (2007), p.3
          (“Title IX of the Education Amendments of 1972 is the
          primary federal law barring sex discrimination in all facets
          of education, including sports programs. Title IX requires
          that members of both sexes have equal opportunities to
          participate in sports and receive the benefits of competitive
          athletics. It also requires that athletic scholarships be
          allocated equitably and that men and women be treated fairly
          in all aspects of sports programming.”)
              This emphasis on a tether to the programs and activities
          of educational institutions to support a Title IX claim is
          echoed in the seminal Supreme Court cases addressing Title
          IX. In Gebser v. Lago Vista Independent School District,
          524 U.S. 274, 285 (1998), the Supreme Court “conclude[d]
          that it would frustrate the purposes of Title IX to permit a
          damages recovery . . . based on principles of respondeat
          superior or constructive notice.” Stated differently, without
          a tether to a program or activity of an educational institution,
          no remedy is available under Title IX. See id.
              This theme was reiterated and refined in Davis v. Monroe
          Cty. Bd. of Educ., 526 U.S. 629 (1999), involving a
          “prolonged pattern of sexual harassment” against a fifth-
          grade student who was victimized by one of her classmates.
          Id. at 633. In its analysis, the Supreme Court reiterated its
          holding in Gebser that “a recipient of federal funds may be
          liable in damages under Title IX only for its own
          misconduct.” Id. at 640. The Supreme Court emphasized
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          that the “recipient itself” must engage in the acts prohibited
          by Title IX and that those acts must be “under [the
          recipient’s] programs or activities.” Id. at 640-41 (emphasis
          added) (cleaned up).
              The Supreme Court refined the analysis applicable to
          Title IX claims by explicating how to determine whether the
          prohibited acts occurred “under [the recipient’s] programs or
          activities.” Id. The Supreme Court clarified that Title IX’s
          “plain language confines the scope of prohibited conduct
          based on the recipient’s degree of control over the harasser
          and [over] the environment in which the harassment occurs.”
          Id. at 644 (emphasis added). The Supreme Court explained
          further that for the harassment to occur “under the operations
          of a funding recipient, the harassment must take place in a
          context subject to the school district’s control.” Id. at 645
          (citations and internal quotation marks omitted). The
          Supreme Court encapsulated its holding by limiting “a
          recipient’s damages liability to circumstances wherein the
          recipient exercises substantial control over both the harasser
          and the context in which the known harassment occurs.” Id.
          (emphasis added).
              Applying this holding to the facts before it, the Supreme
          Court noted that the sexual harassment “occurr[ed] during
          school hours and on school grounds,” quintessentially
          “under an operation of the funding recipient.” Id. at 646
          (citation and internal quotation marks omitted). The
          Supreme Court considered these specific circumstances,
          with the school “retain[ing] substantial control over the
          context in which the harassment occurr[ed] . . . during
          school hours and on school grounds” and “exercis[ing]
          significant control over the harasser.” Id. The Davis case
          reinforced the requirement of a tether to the programs and
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          activities of an educational institution to impose liability for
          damages under Title IX. See id.
              With this framework firmly in mind, I proceed to the
          facts and issues presented in this appeal which do not fit
          within the straightforward analysis articulated in Davis.
              I. Background
              There is no real dispute about the underlying facts of this
          case in terms of the inexcusable physical abuse heaped upon
          Ms. Brown and other female students at the University of
          Arizona. The majority recites the facts in painstaking detail,
          see Majority Opinion, pp. 8-20, but these recited facts
          establish only that the University had control over the
          harasser. Glaringly absent from the majority’s recitation of
          the facts is any factual underpinning establishing both
          control elements set forth in Davis: “significant control over
          the harasser” and “substantial control over the context in
          which the harassment occurr[ed].” Davis, 562 U.S. at 646.
          Lacking that underpinning, the majority has not and cannot
          identify a program or activity of the University of Arizona
          that was involved in the alleged Title IX infraction.
              It is undisputed that the physical abuse inflicted upon
          Ms. Brown occurred in Bradford’s off-campus house. There
          is no indication in the record that the house is affiliated with
          the University of Arizona in any respect. The University did
          not lease the house for Bradford and did not pay the owner
          of the house for Bradford to live there. Coach Rodriguez,
          the then-head football coach testified in his deposition that
          under the rules governing football players “[l]iving off-
          campus is subject to approval by [the] head coach and
          position coach. Off-campus subject to moving back on
          campus.” When asked to explain what the rule meant, Coach
          Rodriguez clarified that in the second year of college players
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          could move off-campus “as long as they were doing okay
          academically and, you know, not being irresponsible as far
          as making their appointments and practices and meetings
          and everything else on time, they could move off-campus.”
          Coach Rodriguez continued that if a player moved off-
          campus and “were late to class all the time or missing or
          being late for different things or missing appointments, . . .
          we could move them back on campus.” However, Coach
          Rodriguez could not recall a single instance “where a student
          was living off-campus and [the coach] moved him back on
          campus.”1
               II. Discussion
                  A. Control Over The Harasser (Bradford)
              As a student athlete, Bradford was subject to discipline
          from the University of Arizona as a student and from the
          football coaches as a football player. There were specific
          rules governing the conduct of football players. Indeed,
          Coach Rodriguez testified in his deposition that he had a zero
          tolerance policy for domestic violence, and that he dismissed
          Bradford from the team as soon as he learned about his
          physical abuse of Ms. Brown.
             As discussed, Bradford could only move off-campus
          with permission from his coaches. And he could be required
          to move back on campus if he were not “doing okay
          academically” and “not being responsible as far as making


          1
            The Majority Opinion characterizes Coach Rodriguez’s testimony as
          conditioning permission to live off-campus on “good behavior.”
          Majority Opinion, p. 32. However, Coach Rodriguez never mentioned
          “good behavior” in his testimony. He only discussed acting responsibly
          in terms of academics and being on time for practices, meetings, and
          appointments.
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          [his] appointments and practices and meetings and
          everything else on time.”
             From these facts, I readily agree that the University of
          Arizona “exercise[d] significant control over the harasser.”
          Davis, 526 U.S. at 646.
                 B. Control Over The Context In Which The
                    Harassment Occurred
              On this issue, I fundamentally disagree with the
          majority’s analysis and conclusion. I start from the premise
          set forth in Davis that for damages liability to be available
          under Title IX, the harassment must be tethered to the
          programs and activities of the educational institution, in this
          case the University of Arizona. See id. at 640-41. To
          determine whether the harassment is sufficiently tethered to
          the programs and activities of an educational institution, not
          only must the institution “exercise significant control over
          the harasser,” id. at 646, but also “retain substantial control
          over the context in which the harassment occurred.” Id.
          (emphasis added). These are two separate inquiries. As
          discussed, the record definitively supports the conclusion
          that the University of Arizona “exercise[d] significant
          control over” Bradford, the harasser. Id. However, the same
          is not true for the separate inquiry of whether the University
          “retain[ed] substantial control over the context in which the
          harassment occurred,” id., (emphasis added), an off-campus
          house that was not connected to the University in any way.
              As acknowledged by the majority, before the district
          court and the three-judge panel Ms. Brown never argued that
          the University of Arizona “retained substantial control” over
          the off-campus house. Id. Rather, she predicated the
          University’s liability on allowing Bradford to remain a
          student and football player at the University after receiving
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          reports that Bradford had been physically abusive to other
          female students at the University. Majority Opinion, p. 22.
          Ms. Brown, in fact, expressly disclaimed any argument
          based on the University’s control over the context in which
          the harassment occurred. Rather, she argued that “[t] he
          question is whether the University had sufficient control
          over the context in which [Brown] alleges that [the
          University] failed to act, not whether [the University] had
          sufficient control over the context in which she was later
          attacked.” (emphasis in the original). In contrast, at oral
          argument before the en banc panel, counsel for Ms. Brown
          took the cue from the dissenting opinion of the three-judge
          panel to advance the theory that the University had control
          over the context in which Ms. Brown’s harassment occurred,
          a theory that is embodied in the en banc majority opinion.
              To support its conclusion that the University “retain[ed]
          substantial control over the [off-campus] context in which
          the harassment occurred,” Davis, 526 U.S. at 646 (emphasis
          added), the majority references the following facts:

                 1.    Bradford was subject to Player Rules
                       specific to football players, including a
                       rule requiring players to obtain
                       permission before moving off-campus.
                 2.    Bradford was subject to the
                       University’s Student Code of Conduct
                       that applied to all students and
                       organizations, seeking to hold them
                       “accountable for misconduct and to
                       prevent it from happening again in the
                       future.”
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                 3.    Coach Rodriguez expressed a zero-
                       tolerance policy for violence against
                       women.

          Majority Opinion, pp. 32-34.
             The majority professes that “[this] heightened level of
          control and disciplinary power strengthened the connection
          between Bradford’s off-campus housing and the
          University’s football program.” Id., p. 34. Not so. The
          described “heightened level of control and disciplinary
          power” applied only to Bradford and not to the off-campus
          house.
              More specifically, the problem with reliance on these
          facts is that they are all indicia of control over Bradford, the
          harasser, rather than indicia of control over the off-campus
          context in which the assault occurred. This failing is
          highlighted by the majority’s discussion of the expert report
          concluding that “the University had control over where
          Bradford lived.” Id., p. 35. But control over whether
          Bradford, the harasser, could live off-campus does not
          equate to control over the off-campus context in which the
          harassment occurred, the separate inquiry required under
          Davis.
              The majority asserts that “[t]here is undisputed evidence
          that the University had control over the off-campus housing
          in which Bradford was living while attending the
          University.” Id., p. 32. Nothing could be further from the
          truth. In fact, there is absolutely no evidence in the record
          that the University had control over the off-campus house
          where the assault occurred. There is no evidence in the
          record that the house was designated student housing. There
          is no evidence in the record that the owner of the house had
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          a contract with the University to house students. There is no
          evidence in the record that anyone from the University
          directed Bradford to live in that particular house. There is
          no evidence in the record that the University leased the house
          for Bradford. There is no evidence in the record that the
          University paid for Bradford to live in the house. There is
          no evidence in the record that the University in any way
          supervised or endorsed the activities in the house.
              Adoption of the majority’s approach would sever the
          pivotal tether to programs and activities of the educational
          institution that is at the core of Title IX. See 20 U.S.C.A.
          § 1681(a) (prohibiting “discrimination under any education
          program or activity”) (emphasis added). Under the
          majority’s view, so long as the educational institution had
          control over the harasser, the institution’s liability would
          automatically follow, regardless of whether a “program or
          activity” of the institution was involved. With permission
          from the author, I paraphrase the two examples discussed in
          the panel opinion because they vividly demonstrate the
          overreach of the majority’s conclusion:

                 Example Number One: A fellow student and
                 football player at the University of Arizona
                 lives at home with his parents while attending
                 the University and playing on the football
                 team. That player would be subject to the
                 same University Student Code of Conduct
                 and Player Rules referenced by the majority.
                 Under the majority’s analysis, the University
                 would be deemed to have control over the
                 parent’s residence, and an assault occurring
                 in that home would be considered committed
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                   “under an[] education program or activity” of
                   the University.
                   Example Number Two: A fifth-grader (same
                   age as the harasser in Davis) is subject to a
                   student code of conduct that prohibits
                   harassment of other students. At a birthday
                   party at her home over the weekend, the
                   student engages in behavior that violates the
                   code of conduct, and subjects her to
                   discipline by the school. Under the majority’s
                   analysis, because of its ability to discipline
                   the student for violation of the code of
                   conduct, the school controlled the context of
                   the birthday party held at the student’s
                   home.2

              The majority’s collapsing of the two prongs is exposed
          in its articulation that “a key consideration is whether the
          school has some form of disciplinary authority over the
          harasser in the setting in which the harassment takes place.”
          Majority Opinion, p.26. But this analysis is a sharp and
          troubling departure from the two-pronged analysis
          articulated in Davis, and the cases cited by the majority do
          not support this overreach. Actually, a discussion of the
          facts of those cases serves to distinguish them.
             The case with the most analogous facts is Simpson v.
          University of Colorado Boulder, 500 F.3d 1170 (10th Cir.
          2007). In that case, two female University students were
          sexually assaulted in one of the female student’s off-campus

          2
           Tellingly, the majority offers no response to these clear demonstrations
          of the effects of collapsing the two prongs articulated in Davis to focus
          solely on control over the harasser.
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          apartment. See id. at 1172-73. The female students were
          assaulted by members of the University’s football team and
          by high school students being recruited to play football at the
          University. See id. at 1173. The record reflected that the
          University “paired each visiting recruit with an
          ‘Ambassador,’ usually female, who escorted the recruit
          around campus throughout the visit.” Id. at 1180. The
          University also matched the high school recruits with
          University football players “selected by the coaching staff,
          including the head coach.” Id. According to an attorney in
          the University’s counsel office, who later became associate
          athletic director, “the player-hosts, who were usually
          underclassmen, were chosen because they knew how to
          party and how to show recruits a good time and would do a
          good job of entertaining them.” Id. (citation, alteration, and
          internal quotation marks omitted). As alleged by the
          plaintiffs, and confirmed by the University’s counsel, these
          recruiting activities were “officially sanctioned” by the
          University. Id. at 1175. Under these facts, a conclusion that
          the University had substantial control over the context of the
          off-campus sexual assault is completely consistent with
          Davis and vastly at odds with the facts of our case, when the
          only involvement of the University of Arizona was
          permitting Bradford to live off-campus.
              The majority represents that Simpson “made clear that a
          university can exercise substantial control over an off-
          campus context when it facilitates the presence of both the
          perpetrators and victims of sexual violence at the site,
          chooses to minimize its own oversight of their activities, and
          thus increases the risk of assault.” Majority Opinion, p. 29.
          However, as with most other broad statements, the devil is
          in the details. The court in Simpson found liability under
          Title IX only after first observing that the sexual assault took
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          place within the context of a program or activity of the
          University. See Simpson, 500 F.3d at 1175 (observing that
          the recruiting visits during which the sexual assaults
          occurred were “officially sanctioned” by the University.)
          “The assault[] arose out of an official school program,” the
          recruiting of high school football students. Id. at 1174. This
          conclusion provided the required tether to a program or
          activity of the University. In contrast, this record contains
          absolutely no evidence that Brown was assaulted during any
          “officially sanctioned” event or that “[t]he assault[] arose out
          of an official [University of Arizona] program. Id. at 1174-
          75. In sum, the holding in Simpson is premised on facts that
          simply do not exist in this case.
              Similarly, in Feminist Majority Foundation v. Hurley,
          911 F.3d 674 (4th Cir. 2018), there was a clear tether to
          university involvement and on-campus activities. In this
          case, Feminists United, a student organization at the
          University of Mary Washington, and several of its members
          objected to a vote by the student senate “to authorize male-
          only fraternities at [the University].” Id. at 680 (emphasis
          added). Plaintiff Paige McKinsey was especially disturbed
          by the prospect that approval of male fraternities on-campus
          would “increase[] the number of on-campus sexual
          assaults.” Id.
              Soon after the on-campus town hall meeting, University
          students began debating the issue on Yik Yak, a social media
          application that allowed users within a limited geographic
          range to create and view messages posted anonymously. See
          id. The application was available to students on the
          University campus and several students posted strong and
          offensive “criticism of Feminist United and its members for
          their opposition to on-campus fraternities.” Id. (footnote
          reference omitted).
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             Later in the month that the town hall meeting occurred,
          several members of Feminists United met with the
          University’s Title IX coordinator to address “their concerns
          about the University’s past failures in responding to student
          sexual assault complaints.” Id. As the Feminists United
          members walked home from their meeting with the Title IX
          coordinator, other students drove by, screaming “F___ the
          feminists!” Id. (citation omitted).
              Two days after the meeting with the Title IX coordinator,
          the University’s men’s rugby team was videotaped
          performing a graphic and highly offensive chant “that
          glorified violence against women, including rape and
          necrophilia.” Id. & n.2.
              After concluding that the University was not responding
          “to the rugby team’s chant and other discriminatory acts
          suffered by female students on campus,” Ms. McKinsey
          “published an opinion piece in [the University’s] student
          newspaper. Id. at 681 (emphasis added). The opinion piece
          discussed the rugby team’s chant and “recent harassing and
          threatening” postings on Yik Yak “aimed at Feminists
          United members.” Id. There was an immediate backlash to
          the article, leading “to an escalation of verbal assaults and
          cyber-attacks on members of Feminists United.” Id.
          (citation omitted).      These attacks included “various
          comments of a derogatory, sexist and threatening nature . . .
          posted to the [University] newspaper’s website.” Id.
          (citation and internal quotation marks omitted).
              Less than a month after Ms. McKinsey’s opinion piece
          was published, members of the University’s rugby team
          accosted Ms. McKinsey in the University’s dining hall. See
          id. That same day, Ms. McKinsey informed the University’s
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          Title IX coordinator that she “felt unsafe on the
          [University’s] campus.” Id.
              The Fourth Circuit discussed the Yik Yak postings in
          some detail. On March 19, 2015, following expressions of
          outrage on Facebook in response to the rugby team’s chant,
          the President of the University suspended all rugby activities
          indefinitely and required all rugby players “to participate in
          anti-sexual assault and violence training.” Id. at 682. The
          President’s decision unleashed a torrent of graphic abuse on
          Yik Yak “directed at members of Feminists United, blaming
          them for the rugby team’s suspension.” Id. The messages
          named Ms. McKinsey and two other members of Feminists
          United specifically, and threatened physical violence, sexual
          violence and death. See id.
              Approximately one week after the rugby team’s
          suspension, Ms. McKinsey was scheduled to speak at a
          meeting of the University’s Young Democrats Club. After
          an anonymous Yik Yak user shared Ms. McKinsey’s
          scheduled appearance “and outlined a plan to accost her” at
          the meeting of the Young Democrats Club, Ms. McKinsey
          contacted the University’s police and reported “that she felt
          unsafe attending the Young Democrats meeting.” Id. The
          campus police considered the threat serious enough to assign
          an officer to the meeting. See id.
              The day after the meeting of the Young Democrats Club,
          Plaintiff Julia Michels, also a member of Feminists United,
          sent an email to the University President, the University
          Vice-President, and the University Title IX Coordinator. See
          id. The email described “nearly 200 examples of students
          using Yik Yak to post either vitriolic hate or threats” against
          the plaintiffs. Id. (citation omitted). The email reiterated
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          that the plaintiffs “feared for their safety on the [University]
          campus.” Id. (citation omitted).
              The day following Ms. Michels’ email, members of
          Feminists United met with University administrators and
          requested that the University: 1) have the Yik Yak
          application disabled on campus; 2) bar access to Yik Yak on
          the University’s wireless network; 3) be more transparent in
          communicating with students; 4) announce to the student
          body that Feminists United was not responsible for the
          suspension of rugby activities; and 5) hold an assembly to
          discuss “rape culture, harassment, [and] cyber bullying.” Id.
          at 682-83 (cleaned up). One Feminists United member
          emailed the University President that she felt “so unsafe at
          [the University] that she could not concentrate on her
          classwork.” Id. at 683.
              After a lack of action from the University administration,
          the plaintiffs filed a Title IX complaint with the Department
          of Education Office of Civil Rights, which they later
          withdrew to file an action in federal district court. See id. at
          683-84.      The district court dismissed the plaintiffs’
          complaint on the basis that the University “had little — if
          any — control over the context in which the Feminists
          United members were harassed, because nearly all of that
          harassment occurred through Yik Yak.” Id. at 687.
              On appeal, the Fourth Circuit disagreed with the district
          court’s conclusion, stating from the outset that the
          University “had substantial control over the context of the
          harassment because it actually transpired on campus.” Id.
          The Fourth Circuit noted that “due to Yik Yak’s location-
          based feature, the harassing and threatening messages
          originated on or within the immediate vicinity of the
          [University] campus.” Id. The Fourth Circuit also observed
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          that some of the offending messages “were posted using the
          University’s wireless network, and the harassers necessarily
          created those [messages] on campus.” Id. Most importantly,
          the Fourth Circuit concluded that “the harassment concerned
          events occurring on campus and specifically targeted
          [University] students.” Id., quoting Davis, 526 U.S. at 646
          (“Where the misconduct occurs during school hours and on
          school grounds, the educational institution retains
          substantial control over the context in which the harassment
          occurs.”) (alterations omitted).
              The events occurring on campus that prompted and
          epitomized the harassment included: 1) the student vote to
          authorize male-only fraternities; 2) the on-campus town hall
          meeting at which Feminists United members “questioned the
          wisdom of having such fraternities at [the University]”; 3)
          the vulgar chant performed by the University’s rugby team;
          4) members of the rugby team accosting Ms. McKinsey in
          the dining hall; and 5) the posting of derogatory comments
          to the University’s newspaper. See Feminist Majority, 911
          F.3d at 680-81.
              In sum, the fact that pivotal events occurred on campus
          and that programs and activities of the University were at the
          heart of the harassment completely distinguishes Feminist
          Majority from the case before us. The rationale of the Fourth
          Circuit does not support the majority’s conclusion that the
          University of Arizona had significant control over the off-
          campus harassment of Ms. Brown.
             The majority recasts the holding of Feminist Majority by
          ignoring all of the harassment that took place on the
          university campus and the demonstrated control the
          university had over the off-campus conduct. Rather, the
          majority rephrases the Feminist Majority holding by
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          declaring: “In other words, the Feminist Majority court held
          that a university has substantial control over an off-campus
          context when it has the ability to take actions that would
          likely prevent harassment in the immediate vicinity of the
          campus.” Majority Opinion, p. 31. Not exactly. The precise
          statement made in Feminist Majority was this:

                 At bottom, in assessing whether [the
                 university] . . . had sufficient control over the
                 harassers and the context of the harassment
                 we cannot conclude that [the university]
                 could turn a blind eye to the sexual
                 harassment that pervaded and disrupted its
                 campus solely because the offending conduct
                 took place through cyberspace.

          911 F.3d at 688-89 (citation omitted) (emphases added).
              Noticeably absent from the majority’s paraphrasing is
          any similar reference to an on-campus connection to the
          harassing behavior. See id. Again, the holding in Feminist
          Majority does not support the majority’s conclusion that the
          University of Arizona controlled the context of the off-
          campus harassment in this case.
              In Weckhorst v. Kansas State University, the Title IX
          plaintiff was sexually assaulted at a University fraternity
          house. See 241 F. Supp. 3d 1154, 1157 (D. Kan. 2017). As
          the district court determined, the fraternity house was
          indisputably “a program or activity” of the University under
          Title IX. 20 U.S.C. § 1681(a). The University fraternities
          served as “student housing organizations that are open only
          to [University] students.” Weckhorst, 241 F. Supp. 3d at
          1158. The University described fraternities as “Kansas State
          University Organizations” on its website. Id. The
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          fraternities were overseen by the University, and
          importantly, the Director of the fraternity that was the situs
          of the sexual assault was an instructor at the University. See
          id. at 1159. The majority simply ignores these crucial factual
          distinctions in its analysis. See Majority Opinion, pp. 30-31.
              Finally, Roe ex. rel. Callahan v. Gustine Unified School
          District, 678 F. Supp. 2d 1008 (E.D. Cal. 2009), involved
          the harassment of Plaintiff during his participation in a high
          school football camp at Liberty High School. See id. at
          1011. Plaintiff was an incoming student at Gustine High
          School, and the football camp was “jointly coordinated by
          Gustine and Liberty High Schools.” Id. In denying the
          motion for summary judgment filed by the Gustine Unified
          School District, the court referenced the joint sponsorship of
          the program, the supervisory role of teachers and coaches
          from Gustine High School, and the players’ transportation to
          the camp in Gustine School District buses under the
          supervision of Gustine coaches. See id. at 1025. The court
          also observed that “[t]he football camp was governed by a
          [School District] Administrative Directive.” Id. These
          circumstances were sufficient “to satisfy th[e] threshold
          inquiry” of substantial control over the context in which the
          harassment of Plaintiff occurred. Id. Once more, no similar
          facts exist in this case. Indeed, the majority merely recites
          the facts of Roe without even attempting to explain how
          these starkly divergent facts support the majority’s attempt
          to attribute the off-campus harassment in this case to the
          University of Arizona without any tether to a program or
          activity of the University. See Majority Opinion, pp. 31-32.
             III. Conclusion
              The facts of this case are disturbing. A football player at
          the University of Arizona physically assaulted Ms. Brown
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          and other female students at the University. However,
          because this case was brought under Title IX, the
          requirements of that statute must be met to provide relief to
          Ms. Brown. One of those requirements is that the University
          have “substantial control over the context in which the
          harassment occurr[ed].” Davis, 526 U.S. at 646. The
          physical assault of Ms. Brown took place in an off-campus
          house and unlike the fraternity house in Weckhorst, the
          University of Arizona had no connection to or involvement
          with the house. Unlike in Feminist Majority, the harassment
          did not occur on campus. Unlike in Simpson, the assault did
          not occur off-campus during a University-sanctioned
          activity. Unlike in Roe, the assault did not occur during a
          football camp sponsored by the school. Stated differently,
          the facts of this case lack any tether to a program or activity
          of the University, as contemplated by Title IX. The sole fact
          that the football coach granted Bradford permission to live
          off campus does not constitute “substantial control” over the
          context of the harassment as was present in the cases relied
          on by the majority. In the absence of this required tether to
          a program or activity of the University of Arizona, I must
          respectfully dissent.


          R. NELSON, Circuit Judge, with whom RAWLINSON and
          LEE, Circuit Judges, join, dissenting:
              Two control requirements must be satisfied for a school
          receiving federal funding to be liable under Title IX for
          student-on-student harassment: the school must exercise
          “substantial control over both the harasser and the context in
          which the known harassment occurs.” Davis ex rel.
          LaShonda D. v. Monroe Cnty. Bd. of Educ., 526 U.S. 629,
          645 (1999). Today, the majority holds that the University of
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          Arizona controlled the context of Orlando Bradford’s abuse
          of Mackenzie Brown in Bradford’s off-campus house. Maj.
          Op. 35.
               The trouble is, Brown expressly disclaimed that position
          below and before the three-judge panel on appeal, arguing
          instead that the control-over-context requirement was met
          because the University controlled Bradford’s previous abuse
          of two other female university students. The majority
          asserts, misleadingly, that Brown merely raised a “narrower
          argument” before our en banc court. Id. at 22. What the
          majority fails to acknowledge or address is that this
          argument was not only not raised, but affirmatively
          abandoned. By embracing an argument that Brown
          affirmatively disavowed, the majority encourages future
          plaintiffs to hide the ball on their arguments for strategic
          litigation advantage. Indeed, the University is now forced to
          proceed to trial on a legal theory that was not the subject of
          discovery or pursued below. That is not good judicial
          process.
              But the majority gets the merits wrong as well. I largely
          agree with Judge Rawlinson’s dissent. I also share many of
          Judge Lee’s concerns about how Title IX jurisprudence has
          strayed from the text and meaning of the statute. But the
          majority is incorrect even under existing precedent. The
          majority’s holding rests on the determination that a school
          has control over the context of harassment as long as the
          school has disciplinary authority over the harasser in the
          setting in which the harassment takes place. Id. at 27. No
          other court has gone as far as the majority does. Schools,
          like the University here, generally exercise wide-reaching
          disciplinary authority over their students without geographic
          limitation. In other words, when a school has disciplinary
          authority over the harasser it will nearly always have
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          disciplinary authority in the setting of the harassment. As a
          result, the control-over-harasser requirement now swallows
          the control-over-context requirement, at least in our circuit.
          A single disciplinary-control requirement is all that
          remains—unmoored from Title IX’s targeted directive of
          prohibiting discrimination in education programs and
          activities, irreconcilable with the Supreme Court’s
          instruction in Davis that a school must have control over
          both the harasser and the context of the harassment, and
          without meaningful limits on a school’s liability for student-
          on-student abuse claims. We can’t ignore Davis and we
          can’t overrule the Supreme Court implicitly either.
              I would stick to deciding the questions presented by the
          parties. And even if it were proper to decide whether the
          University had control over the context of the abuse Brown
          suffered, like Judge Rawlinson, I would preserve the
          Supreme Court’s distinction between control over the
          harasser and control over the context of the harassment. In
          this case, the evidence shows that the University did not
          control the context of Bradford’s abuse of Brown. I
          respectfully dissent.
                                        I
              Bradford was a scholarship athlete on the University
          football team. He was subject to team rules and disciplinary
          policies. For part of his freshman year, Bradford lived off
          campus in violation of the team rule requiring freshmen to
          live on campus. The summer after his freshman year,
          Bradford moved to a different private, off-campus house.
          Others lived in the house as well, including a nonstudent.
             Near that time, Bradford started dating Brown, also a
          University student.   Brown regularly spent time at
          Bradford’s house and often stayed overnight. While they
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          were dating, Bradford physically abused Brown. The
          assaults that form the primary basis for Brown’s Title IX
          claim happened on two successive days during the fall of
          2016, though Brown testified that Bradford physically
          abused her four to ten times in total. These assaults occurred
          at Bradford’s off-campus residence. He pushed her to the
          floor, hit her, dragged her by the hair, choked her, and
          threatened her. Bradford was arrested for these assaults and
          pleaded guilty to two counts of felony aggravated assault and
          domestic violence. He was sentenced to five years in prison.
          Bradford was suspended from the football team and the
          University on the day of his arrest and later expelled.
                                        II
              Brown claims that the University is liable under Title IX
          for these assaults. In Davis, the Supreme Court recognized
          a Title IX claim for student-on-student harassment only
          when a school acts with deliberate indifference to known
          acts of harassment in its programs or activities. 526 U.S. at
          633. The Court set forth several requirements for such a
          claim to succeed, including that the school must exercise
          “substantial control over both the harasser and the context in
          which the known harassment occurs.” Id. at 645; see also
          Karasek v. Regents of Univ. of Cal., 956 F.3d 1093, 1105
          (9th Cir. 2020) (separating Davis’s requirements into five
          elements).
              In the district court and her appeal to this court, Brown
          argued that “the focus of the ‘substantial control’
          requirement must always be on the context of the harassment
          that the university is being accused of failing to correct—or
          of inviting due to its official policies.” Brown maintained
          that the University was liable for her abuse because it failed
          to address Bradford’s prior abuse of two other female
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          students: Student A and Lida DeGroote. Brown explained
          that “[u]nlike many Title IX plaintiffs, [she] does not fault
          the University for its response to her own attack,” instead,
          her attack “is alleged to be an effect of the University’s
          previous Title IX violation, not an event that itself triggered
          the University’s Title IX obligations.” Thus, she argued, the
          “important question as to the University’s control . . . is
          whether the University had control over the context of those
          attacks,” that is, Bradford’s abuse of Student A and
          DeGroote. In other words, “[t]he question is whether the
          University had sufficient control over the context in which
          [Brown] alleges that it failed to act, not whether it had
          sufficient control over the context in which she was later
          attacked.”
              Her reply brief reiterated this position. She contended
          that the control-over-context requirement “applies to the
          harassment that the University is alleged to have known
          about and ignored (primarily the harassment of Student A),
          not to the harassment that [Brown] is alleged to have later
          suffered as a consequence.” Indeed, she argued:

                 The University’s confusion regarding th[e]
                 [control-over-context] element of the claim
                 stems from its persistent misidentification of
                 the Title IX violation alleged by [Brown].
                 The act for which [Brown] seeks to hold the
                 University responsible is not Bradford’s
                 September 2016 attack in the off-campus
                 house rented by the football players, but
                 rather the University’s deliberate indifference to
                 Bradford’s reported on-campus attacks and
                 harassment (primarily of Student A). (The
                 University has never challenged its control over
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                  the dormitories.) [Brown’s] claim is not, in
                  other words, that federally-funded schools
                  should be guarantors of the off-campus safety
                  of their students, but rather simply that they
                  should be held responsible if they act with
                  deliberate indifference toward known acts of
                  on-campus dating violence and harassment.

               All three members of the original panel, including the
          dissenting judge, rejected the only argument that Brown
          made: that the control-over-context requirement could be
          satisfied by the University’s control over the separate
          context of Bradford’s abuse of Student A and DeGroote.
          Brown v. Arizona, 23 F.4th 1173, 1179–81 (9th Cir. 2022);
          id. at 1193 (W. Fletcher, J., dissenting) (“Brown argues that
          because the University had control over the context of
          Bradford’s known harassment of Student A and DeGroote,
          the University’s failure to take action violates Title IX
          without respect to whether the University had control over
          Bradford’s off-campus housing. . . . I would not go so
          far . . . .”). The panel agreed that, to satisfy the control-over-
          context element, Brown had to show that the University
          controlled the context of her own abuse. Id. at 1180, 1193.
          The majority determined that “Brown does not argue that the
          University controlled the off-campus environment in which
          she was assaulted.” Id. at 1180. But despite Brown’s
          disavowal of that argument, the panel dissenter sua sponte
          concluded that the University had control over the context of
          Bradford’s abuse of Brown in his off-campus house. Id. at
          1195.
             Brown took up the panel dissent’s argument for the first
          time before our en banc court. Indeed, she had to seek the
          court’s leave to file a supplemental brief addressing her new
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          argument because, as Brown explained, “[t]he vacated panel
          opinion in this case reached an issue . . . that was not the
          subject of adversarial party briefing.” Today, the majority
          adopts Brown’s new position, inspired by the original panel
          dissent, and holds that the University controlled the context
          of Bradford’s abuse of Brown. Maj. Op. 35.
              To her credit, Judge Friedland recognizes in her
          concurrence that Brown affirmatively disavowed the
          argument the majority adopts. Conc. Op. 44. The majority
          tries to evade Brown’s original disavowal of this argument
          by concluding that Brown simply “made a narrower
          argument” before our en banc court. Maj. Op. at 22. This
          seriously mischaracterizes the story.
              Brown, represented by counsel throughout these
          proceedings, had every opportunity to argue that the
          University controlled the context of her abuse. But Brown
          argued before the district court that the University’s control
          over Bradford’s previous abuse of Student A and DeGroote
          satisfied the control-over-context requirement. The district
          court rejected this argument, leaving no doubt that it granted
          summary judgment because “[w]hile it is undeniable that
          [the University] exercised substantial control over Bradford,
          [Brown] has not offered any evidence that [the University]
          exercised control over the context in which her abuse
          occurred.” Brown knew that her claim failed in the district
          court because the University lacked control over the context
          of her abuse, and she could have challenged that conclusion
          on appeal if she chose.
              She chose not to. On appeal, Brown doubled down on
          her argument, repeatedly and emphatically maintaining that
          her claim was directed at the University’s deliberate
          indifference toward Bradford’s previous abuse. She argued
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          that “[t]he question is whether the University had sufficient
          control over the context in which [Brown] alleges that it
          failed to act, not whether it had sufficient control over the
          context in which she was later attacked.” She characterized
          the University’s arguments directed at her own abuse as the
          source of the University’s “confusion” and its “persistent
          misidentification” of her Title IX claim. The control-over-
          context requirement, she argued, “applies to the harassment
          that the University is alleged to have known about and
          ignored (primarily the harassment of Student A), not to the
          harassment that [Brown] is alleged to have later suffered as
          a consequence.” Make no mistake, Brown affirmatively
          disclaimed the majority’s position.1
              This is waiver, in the true sense of the word. “The terms
          waiver and forfeiture—though often used interchangeably
          by jurists and litigants—are not synonymous.” Hamer v.
          Neighborhood Hous. Servs. of Chi., 138 S. Ct. 13, 17 n.1
          (2017). Our own caselaw is rife with misuse of the terms—
          we have often stated that an argument, issue, or claim is
          “waived” when we really mean “forfeited.” Waiver is the
          “intentional relinquishment or abandonment of a known
          right.” Id. (citation omitted). Forfeiture is the “failure to
          make the timely assertion of a right.” Id. (citation omitted).
          In civil and criminal cases, waiver has harsher consequences
          than forfeiture. United States v. Lopez, 4 F.4th 706, 719 n.3
          (9th Cir. 2021) (“Waiver is the intentional relinquishment or
          abandonment of a known right and entirely precludes
          appellate review.” (cleaned up)); Crowley v. Epicept Corp.,

          1
            Like the original panel, I would reject Brown’s assertion that the
          control-over-context requirement can be satisfied by the University’s
          control over Bradford’s previous assaults. See Brown, 23 F.4th at 1180–
          81, 1193. Davis requires that the plaintiff suffered harassment under the
          operations of the institution. 526 U.S. at 644–45.
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          883 F.3d 739, 748 (9th Cir. 2018) (“Forfeited rights are
          reviewable for plain error, while waived rights are not.”); see
          also Claiborne v. Blauser, 934 F.3d 885, 893 (9th Cir. 2019).
              Adopting Brown’s disclaimed position also implicates
          the party presentation principle: “It is the parties who ‘frame
          the issues for decision,’ and we may entertain only those
          arguments ‘bearing a fair resemblance to the case shaped by
          the parties.’” AMA Multimedia, LLC v. Wanat, 970 F.3d
          1201, 1214 (9th Cir. 2020) (quoting United States v.
          Sineneng-Smith, 140 S. Ct. 1575, 1579, 1582 (2020)); see
          also Baccei v. United States, 632 F.3d 1140, 1149 (9th Cir.
          2011) (“[W]e will not reframe an appeal to review what
          would be in effect a different case than the one decided by
          the district court.”). In Sineneng-Smith, the Supreme Court
          held that our court violated the party presentation principle
          when the panel invited amici to brief and argue issues never
          raised by the parties and then adopted those arguments in the
          disposition. 140 S. Ct. at 1581. The Supreme Court taught
          that “our system is designed around the premise that parties
          represented by competent counsel know what is best for
          them, and are responsible for advancing the facts and
          argument entitling them to relief, . . . courts are essentially
          passive instruments of government.” Id. at 1579 (cleaned
          up).
              As both the majority and the concurrence point out, Maj.
          Op. 22; Conc. Op. 45–46, “we have authority and discretion
          to decide questions first raised in a petition for rehearing en
          banc.” United States v. Hernandez-Estrada, 749 F.3d 1154,
          1159 (9th Cir. 2014) (en banc). And if the parties address
          issues in a petition for rehearing en banc or en banc
          supplemental briefing that were not previously raised, “[t]he
          party-presentation principle is not implicated . . . because
          the parties themselves have ‘frame[d] the issue for
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          decision.’” Lee v. Fisher, 70 F.4th 1129, 1154 (9th Cir.
          2023) (en banc) (second alteration in original) (quoting
          Sineneng-Smith, 140 S. Ct. at 1579).
              As mentioned above, our caselaw regularly mixes up
          waiver and forfeiture. Despite using the term “waiver,” each
          of the cases cited by the majority and concurrence
          suggesting that our en banc court can address Brown’s
          disavowed argument really involve forfeiture. Id. (“Lee
          failed to identify [the] Section 115 [issue] in her opening
          brief before the panel . . . .”); Hernandez-Estrada, 749 F.3d
          at 1159 (“Hernandez has waived his challenge to the
          absolute disparity test by not specifically raising it before the
          three judge panel.”); Socop-Gonzalez v. INS, 272 F.3d 1176,
          1186 n.8 (9th Cir. 2001) (en banc), overruled on other
          grounds by Smith v. Davis, 953 F.3d 582, 599 (9th Cir. 2020)
          (en banc) (“[F]ailure to raise an issue before an original
          appellate panel does not preclude an en banc panel’s
          jurisdiction over the issue.”). The majority and concurrence
          cite no case in which we have adopted an argument that was
          affirmatively disclaimed by a party. There is no precedent
          supporting what the majority is actually doing here.2
              Even if we can exercise discretion to address Brown’s
          disclaimed argument, we shouldn’t. Brown made a
          conscious choice, and that choice should carry
          consequences. See Porter v. Martinez, 68 F.4th 429, 440 n.6
          (9th Cir. 2023) (rejecting the dissent’s argument because the
          plaintiff “expressly disavowed” it, instead “[t]aking [the

          2
            As Judge Friedland aptly notes, the en banc court should be free to
          correct substantive errors by the three-judge panel on disavowed
          arguments. Conc. Op. 45–46. But that can easily be done by vacating
          the three-judge panel opinion. The en banc panel should not repeat the
          error of addressing a disavowed argument.
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          plaintiff] at her word” and addressing only the argument she
          advanced). Enforcing waiver here would “‘preserve the
          integrity of the appellate structure’ by ensuring that ‘an issue
          must be presented to, considered and decided by the trial
          court before it can be raised on appeal.’” Honcharov v. Barr,
          924 F.3d 1293, 1295 (9th Cir. 2019) (per curiam) (quoting
          Torres de la Cruz v. Maurer, 483 F.3d 1013, 1023 (10th Cir.
          2007)).      Enforcing waiver “encourage[s] the orderly
          litigation and settlement of claims by preventing parties from
          withholding ‘secondary, back-up theories’ at the trial court
          level, thus allowing party-opponents to appraise frankly the
          claims and issues at hand and respond appropriately.” Id.
          (quoting Torres de la Cruz, 483 F.3d at 1023). The
          majority’s opinion subverts the established appellate
          structure and encourages future gamesmanship.
              Indeed, the University suffers prejudice here, having
          been unable to develop facts geared toward the majority’s
          theory. Discovery has concluded. On remand, the case will
          likely proceed to trial on a legal question that Brown
          affirmatively abandoned. The parties have not had the
          opportunity for proper discovery to address these claims. It
          is hard to imagine a more unfair process for the University.3
              The majority also says that only claims can be waived,
          not arguments. See Maj. Op. 23. But we regularly hold that
          arguments can be waived or forfeited. See, e.g., Freedom
          from Religion Found., Inc. v. Chino Valley Unified Sch. Dist.
          Bd. of Educ., 896 F.3d 1132, 1152 (9th Cir. 2018) (per

          3
            Assuming the majority’s position, I agree with Judge Friedland’s
          suggestion that discovery should be reopened. Conc. Op. 46.
          Unfortunately, that position has not garnered a majority of the en banc
          panel. But hopefully the district court will exercise its discretion to do
          so.
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          curiam) (“[T]he [defendant] has chosen not to argue the
          issue on appeal.           This is waiver—the intentional
          relinquishment or abandonment of a known right or
          privilege.” (internal quotation marks and citation omitted));
          GoPets Ltd. v. Hise, 657 F.3d 1024, 1033 (9th Cir. 2011)
          (“The [defendants] waived that argument by failing to
          present it to the district court in a timely fashion.”); Smith v.
          Marsh, 194 F.3d 1045, 1052 (9th Cir. 1999) (“[A]n appellate
          court will not consider issues not properly raised before the
          district court. Furthermore, on appeal, arguments not raised
          by a party in its opening brief are deemed waived.”). Despite
          this standard practice, the majority identifies our separate
          line of cases, Maj. Op. 23, mirroring the Supreme Court’s
          approach that “it is claims that are deemed waived or
          forfeited, not arguments.” United States v. Pallares-Galan,
          359 F.3d 1088, 1095 (9th Cir. 2004); accord Allen v. Santa
          Clara Cnty. Corr. Peace Officers Ass’n, 38 F.4th 68, 71 (9th
          Cir. 2022) (per curiam) (“The Employees’ argument . . . is
          not a new claim but is, instead, a new argument in support
          of their consistent claim.”).
              Unlike most situations where we are bound to follow the
          Supreme Court, application of the waiver rule by a court of
          appeals may appropriately differ because the Supreme Court
          has a discretionary docket. Our line of cases applying the
          Supreme Court’s waiver rule disregards certain unique
          characteristics of the Supreme Court—that “[a]ny argument
          in support of a pleaded ‘claim’ may be raised in a petition
          for writ of certiorari” and that “only the questions presented
          in the petition for writ of certiorari are reviewed.” Chris
          Goelz et al., Rutter Group Practice Guide: Federal Ninth
          Circuit Civil Appellate Practice ¶ 7:83.5 (2023); see also id.
          at ¶ 7:83.9 (explaining that Ninth Circuit cases adopting the
          Supreme Court’s waiver standard “typically do not address
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          aspects of the U.S. Supreme Court’s waiver standards that
          are unique to that Court or explain how and why they should
          be applied in the Ninth Circuit . . . . For this reason, it is not
          possible to completely reconcile all Ninth Circuit opinions
          discussing waiver”). At any rate, concluding that waiver and
          forfeiture only apply to claims abandons voluminous
          caselaw in which we have applied these rules to arguments.
          See, e.g., Freedom from Religion Found., 896 F.3d at 1152.
               In short, the majority’s analysis and holding adopt a
          theory that was affirmatively disclaimed in the district court
          and on appeal, and entered the equation only because the
          dissenting judge on the original panel interjected it on his
          own. This absolves Brown of the consequences of her
          deliberate litigation strategy and creates significant
          consequences for future litigants in our circuit. Crafty
          litigants will “withhold[] secondary, back-up theories at the
          trial court level,”—even affirmatively disclaim them—to
          prevent “party-opponents” like the University here from
          “apprais[ing] frankly the claims and issues at hand and
          respond[ing] appropriately.” See Honcharov, 924 F.3d at
          1296. Whether or not our en banc court has discretion to
          address Brown’s waived theory, we should “adjudicat[e]
          [this] appeal attuned to the case shaped by the parties rather
          than the case designed by the appeals panel.” See Sineneng-
          Smith, 140 S. Ct. at 1578.
                                         III
              I remain firm that Brown’s waived argument should not
          be addressed. But because the majority has chosen to
          address a waived argument, I find it appropriate to respond.
          The majority incorrectly concluded that the University
          controlled the context here. A Title IX claim for student-on-
          student harassment requires control over both the harasser
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          and the context of the harassment. Davis, 526 U.S. at 645.
          Addressing Brown’s Title IX claim on summary judgment,
          I would hold that the record does not show a genuine dispute
          of material fact about whether the University controlled the
          context of Bradford’s abuse of Brown in his off-campus
          house.
                                        A
              Title IX provides that “[n]o person in the United States
          shall, on the basis of sex, be excluded from participation in,
          be denied the benefits of, or be subjected to discrimination
          under any education program or activity receiving Federal
          financial assistance.” 20 U.S.C. § 1681(a). Protecting
          against discrimination in education programs was the
          motivating concern behind the Supreme Court’s recognition
          of a Title IX claim for student-on-student harassment. See
          Davis, 526 U.S. at 651 (“[A] plaintiff must establish sexual
          harassment of students that is so severe, pervasive, and
          objectively offensive, and that so undermines and detracts
          from the victims’ educational experience, that the
          victim-students are effectively denied equal access to an
          institution’s resources and opportunities.”). To that end, the
          Supreme Court outlined certain requirements that must be
          satisfied for a plaintiff to prevail on a Title IX student-on-
          student harassment claim. Id. at 643–50. Consistent with
          the Court’s firm instruction that a school may be liable “only
          for its own misconduct,” one requirement is that the school
          must have “some control over the alleged harassment.” Id.
          at 640, 644. Control over the alleged harassment has two
          components: control over the harasser and control over the
          “context” or “environment” in which the harassment occurs.
          Id. at 644–45. As to the control-over-context requirement,
          the Court stressed that “the harassment must take place in a
          context subject to the school[’s] control,” id. at 645, because
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          Title IX prohibits discrimination “under any education
          program or activity,” § 1681(a). Education “program or
          activity” is defined as “the operations of” an educational
          institution subject to Title IX. Davis, 526 U.S. at 645
          (quoting 20 U.S.C. § 1687).
              The Court emphasized that control over the “context” or
          “environment” of the harassment was a separate requirement
          from control over the harasser. Id. at 644–45. But the
          majority fails to heed that instruction. I agree with the
          majority that the control-over-context requirement involves
          more than just the geographic location of the harassment and
          that this requirement can be satisfied in off-campus settings.
          Maj. Op. 32. But even in off-campus settings, some element
          of school sanction, sponsorship, or connection to a school
          function is required. See Rost ex rel. K.C. v. Steamboat
          Springs RE-2 Sch. Dist., 511 F.3d 1114, 1121 n.1 (10th Cir.
          2008) (“Davis suggests that there must be some nexus
          between the out-of-school conduct and the school.”). This
          tethers the control-over-context requirement to the statute,
          which prohibits “discrimination under any education
          program or activity,” § 1681(a), meaning that the harassment
          “must occur ‘under’ ‘the operations of’” a school, see Davis,
          526 U.S. at 645 (quoting §§ 1681(a), 1687). The statute’s
          text, the Supreme Court emphasized, requires that the
          harassment “have the systemic effect of denying the victim
          equal access to an educational program or activity” and
          “cabins the range of misconduct that the statute proscribes.”
          Id. at 644, 652.
              The cases the majority relies on are in harmony with this
          understanding. In Simpson v. University of Colorado
          Boulder, 500 F.3d 1170 (10th Cir. 2007), the sexual assaults
          happened during a university football team recruiting visit,
          in which the team brought high school students to campus
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          and paired them with “female ‘Ambassadors’” and “player-
          hosts” who “were responsible for the recruits’
          entertainment.” Id. at 1173. The recruits were taken to an
          off-campus apartment, where players and recruits sexually
          assaulted two female students. Id. at 1180. This was not just
          a private party—the recruits were taken to the off-campus
          apartment as part of the recruiting trip activities that the team
          facilitated and organized to show the recruits a “good time.”
          See id. at 1173. The court explained that “[t]he alleged
          assaults were not simply misconduct that happened to occur
          at [the university] among its students. Plaintiffs allege that
          the assaults arose out of an official school program, the
          recruitment of high-school athletes.” Id. at 1174. Although
          Simpson focused on the actual-notice and deliberate-
          indifference elements, see id. at 1174, 1184–85, the court
          also concluded that “[i]mplementation of an official policy
          can certainly be a circumstance in which the recipient
          exercises significant ‘control over the harasser and the
          environment in which the harassment occurs.’” Id. at 1178
          (quoting Davis, 526 U.S. at 644).
              In Feminist Majority Foundation v. Hurley, 911 F.3d
          674 (4th Cir. 2018), university students posted anonymous
          messages on a social media platform that disparaged,
          harassed, and threatened the plaintiffs. Id. at 680–82.
          Holding that the plaintiffs’ Title IX claim survived a motion
          to dismiss, the Fourth Circuit concluded that the control-
          over-context requirement was sufficiently alleged because
          the harassing posts “actually transpired on campus.” Id. at
          687. The posts “originated on or within the immediate
          vicinity of” campus, were posted using the university’s
          wireless network, and “concerned events occurring on
          campus and specifically targeted [university] students.” Id.
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              In Weckhorst v. Kansas State University, 241 F. Supp.
          3d 1154 (D. Kan. 2017), aff’d sub nom. Farmer v. Kansas
          State University, 918 F.3d 1094 (10th Cir. 2019), the female
          plaintiff was sexually assaulted by a male student in his
          vehicle and again in his off-campus fraternity house. Id. at
          1159. Addressing the plaintiff’s Title IX claim at the
          motion-to-dismiss stage, the district court held that the
          control-over-context requirement was satisfied because the
          “fraternity allegedly is a [university] student organization, is
          supervised by a faculty advisor, is overseen by [the
          university’s] Office of Greek Affairs, is subject to
          [university] rules specifically applicable to fraternity parties
          and events, and was suspended by [the university] for
          conduct at the party where Plaintiff was assaulted.” Id. at
          1170.
              The district court distinguished two Eighth Circuit cases
          involving sexual assault by fraternity members where the
          control-over-context requirement was not satisfied,
          concluding that the assaults in those cases happened “at a
          private residence that was not owned by the fraternity or the
          university,” id. at 1167 (citing Ostrander v. Duggan, 341
          F.3d 745, 750–51 (8th Cir. 2003)), and “at a party at an off-
          campus apartment,” id. (citing Roe v. St. Louis Univ., 746
          F.3d 874, 884 (8th Cir. 2014)). The district court determined
          that “[h]ere, by contrast, the alleged assaults that give rise to
          Title IX liability took place at a house owned by the
          fraternity and at a fraternity event, and Plaintiff’s allegations
          reflect that [the university] exercises substantial control over
          the fraternity.” Id. at 1170.
             In Roe ex rel. Callahan v. Gustine Unified School
          District, 678 F. Supp. 2d 1008 (E.D. Cal. 2009), the plaintiff
          was assaulted during a school-sponsored summer football
          camp. Id. at 1013–14. Although the football camp was at a
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          different high school, the district court held that the control-
          over-context requirement was satisfied because “the football
          camp was sponsored and promoted by [the school], its
          football coaches and administrators, was a core part of [the
          school’s] football program, and was under the supervision of
          [school] teachers and/or football coaches.” Id. at 1025.
              In each of these cases, an element of school sanction,
          sponsorship, or connection to a school function existed. See
          Hurley, 911 F.3d at 687 (harassment originated on or near
          campus, used the university’s wireless network, and
          concerned events on campus); Simpson, 500 F.3d at 1173
          (assaults happened as part of university football team
          recruiting activities); Weckhorst, 241 F. Supp. 3d at 1170
          (assault happened at a house owned by a fraternity (a
          university student organization) at a fraternity event); Roe,
          678 F. Supp. 2d at 1025 (assault happened at a school-
          sponsored football camp); see also Foster v. Bd. of Regents
          of Univ. of Mich., 982 F.3d 960, 970 (6th Cir. 2020) (en
          banc) (contrasting misconduct “over which the University
          has no control,” including Facebook comments and emails,
          with misconduct “[i]t could and did control,” that is,
          “classes, social events, ceremonies, and the like”).
              This case has no similar indicia that the University
          controlled the context of Bradford’s abuse of Brown.
          Bradford attacked Brown in his off-campus house. The
          house was not owned by or affiliated with the University,
          nor did the abuse occur in connection with a University
          function. The abuse here is akin to that in the two Eighth
          Circuit cases distinguished by the district court in
          Weckhorst, where the abuse occurred “at a private residence
          that was not owned by the fraternity or the university,” 241
          F. Supp. 3d at 1167 (citing Ostrander, 341 F.3d at 750–51),
          and “did not occur under a university ‘program or activity,’”
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          id. (citing Roe, 746 F.3d at 884). Because the University did
          not control the context of Bradford’s abuse of Brown, the
          district court properly granted summary judgment to the
          University.
                                        B
              In the majority’s view, none of this matters because “a
          key consideration is whether the school has some form of
          disciplinary authority over the harasser in the setting in
          which the harassment takes place.” Maj. Op. 26. This
          determination stems from the majority’s understanding of
          the Supreme Court’s conclusion in Davis that “recipients of
          federal funding may be liable for ‘subject[ing]’ their students
          to discrimination where the recipient is deliberately
          indifferent to known acts of student-on-student sexual
          harassment and the harasser is under the school’s
          disciplinary authority.” 526 U.S. at 646–47.
              The majority characterizes this conclusion from Davis as
          the Supreme Court’s “articulat[ion] [of] its holding on the
          ‘control’ element.” Maj. Op. 26. That is incorrect. In this
          passage, the Court first stated the dual requirement that a
          school must “exercise[] substantial control over both the
          harasser and the context in which the known harassment
          occurs.” Davis, 526 U.S. at 645. In the next paragraph, the
          Court applied those two control requirements to the facts of
          the case. It first found that the school easily satisfied the
          control-over-context requirement because “the misconduct
          occur[red] during school hours and on school grounds.” Id.
          at 646.
              With the control-over-context requirement squared
          away, the Court distinctly transitioned to the control-over-
          harasser requirement. Id. (“In these circumstances, the
          recipient retains substantial control over the context in which
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          the harassment occurs. More importantly, however, in this
          setting the [school board] exercises significant control over
          the harasser.”). The Court then discussed whether the school
          had control over the harasser, emphasizing the school’s
          disciplinary authority over its students. Id. at 646–47. The
          paragraph concludes with the statement the majority
          mischaracterizes as a summary of the entire control element.
          Id.
              This passage from Davis makes evident that the Court’s
          conclusion about schools being liable when “the harasser is
          under the school’s disciplinary authority” is not a summary
          of the entire control element, but a conclusion specific to the
          control-over-harasser requirement. See id. Reading the
          statement any other way eviscerates the distinction between
          the control-over-context requirement and the control-over-
          harasser requirement that the Court had just finished
          explaining in its last breath. It also ignores Congress’s
          directive that conduct is actionable only if it occurs “under
          an[] education program or activity.” § 1681(a).
              Cases the majority relies on also read Davis this way.
          See Hurley, 911 F.3d at 688 (“The substantial control
          analysis also requires us to consider the educational
          institution’s control over the harasser, especially its
          ‘disciplinary authority.’” (quoting Davis, 526 U.S. at 647));
          Weckhorst, 241 F. Supp. 3d at 1167 (recognizing that
          “disciplinary control” is relevant to whether the university
          “had substantial control over the alleged assailants” (citing
          Davis, 526 U.S. at 646–47)). The majority’s holding
          dismantles the Supreme Court’s two separate control
          requirements and makes disciplinary authority the sole
          touchstone for evaluating a school’s control.
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              This new disciplinary-control requirement is remarkably
          unlimited. In this case, for instance, the University would be
          potentially liable for harassment by any student in any
          location. The University’s off-campus disciplinary authority
          is not limited to football players, or even athletes. As the
          majority recognizes, the University’s Student Code of
          Conduct is “applicable to all students” and “applies to
          student conduct ‘both on-campus and off-campus.’” Maj.
          Op. 33.
              Now that disciplinary authority is enough to establish the
          control-over-context requirement, there are no discernible
          limits on the circumstances that could create Title IX
          liability. Schools could be liable for what happens within
          completely private, unsupervised settings such as spring
          break trips abroad, online communication, and students’
          family homes.
              This is no hypothetical parade of horribles. Consider a
          situation from the record. Brown testified that she was with
          Bradford in a Goodyear Tire store waiting for a tire repair.
          Bradford became upset upon seeing a contact named “Josh”
          in Brown’s phone, and she testified that “he like grabbed my
          arm and dug his nails into my arm. I have a scar.” The
          University and the football team’s disciplinary authority
          over Bradford was fully operative in the Goodyear Tire
          store, just as it was in his off-campus house. Does that mean
          the University controlled the context of the abuse in the tire
          store? Under the majority’s reasoning, the answer must be
          yes. This outcome bears no resemblance to the Supreme
          Court’s teaching that “because the harassment must occur
          ‘under’ ‘the operations of’ a funding recipient . . . the
          harassment must take place in a context subject to the school
          district’s control,” thereby “denying the victim equal access
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          to an educational program or activity.” See Davis, 526 U.S.
          at 645, 652 (quoting §§ 1681(a), 1687).
              The majority stretches the record to assert that “[t]here is
          undisputed evidence that the University had control over the
          off-campus housing in which Bradford was living while
          attending the University.” Maj. Op. 32. First, the majority
          asserts that Bradford was allowed to live off campus only
          with permission of his coaches and that his “permission to
          live off campus was conditioned on good behavior.” Id.
          Both assertions overstate the evidence. There is no evidence
          that Bradford ever requested or received permission to live
          off campus. Coach Rodriguez only testified that this was the
          general rule. In fact, Bradford had lived off campus as a
          freshman in violation of the rule that team freshmen must
          live in the on-campus dorms. Id. at 33–34. Coach Rodriguez
          testified that he had never enforced the rule requiring
          permission to live off campus to make a player move back
          to the dorms. The majority’s assertion that Bradford lived
          off campus because his coaches gave permission is
          unsupported by the record. See id. at 32.
              Nor did Coach Rodriguez testify that permission to live
          off campus was conditioned on general good behavior. See
          id. He testified that permission was based on academic
          performance and punctually keeping appointments: “as long
          as they were doing okay academically and, you know, not
          being irresponsible as far as making their appointments and
          practices and meetings and everything else on time, they
          could move off-campus.” Coach Rodriguez’s testimony
          indicates that requiring a player to move on campus was a
          disciplinary measure for problems associated with living
          away from campus, that is, failing to attend classes and other
          appointments. There is no evidence that this punishment
          was used to generally police player behavior.
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              But even if Bradford were living off campus with
          permission from the coaching staff and his permission could
          have been revoked for bad behavior, that evidence only
          shows that the University had control over Bradford—not
          the context in which he abused Brown. The ability to make
          Bradford move back on campus does not mean the
          University owned or otherwise controlled Bradford’s off-
          campus house, nor that Bradford’s abuse of Brown was
          connected to any University function. Once again, the
          majority conflates the control-over-harasser requirement
          with the control-over-context requirement. See Davis, 526
          U.S. at 645.
              Second, the majority relies on Coach Rodriguez’s
          testimony that if he had known about Bradford’s abuse
          earlier, he would have kicked Bradford off the team earlier.
          Maj. Op. 34. The majority infers that “had [Coach]
          Rodriguez known of Bradford’s assaults on Student A and
          DeGroote, Bradford’s September 12 and 13 assaults on
          Brown at his off-campus house would never have occurred”
          and he “likely would have been expelled from the
          University.” Id. at 2–3, 34. The majority also speculates
          that “[e]ven if [Bradford] had engaged in lesser misconduct,
          he would never have been permitted to live off campus while
          a member of the team.” Id. at 34.
              The record contains no evidence that Bradford would
          have been expelled if he had been kicked off the team earlier.
          Nor is there evidence that he would have been barred from
          living off campus for engaging in “lesser misconduct.” See
          id. Of course, many scenarios exist concerning what might
          have happened if Bradford had been kicked off the team
          earlier. Perhaps it would have changed circumstances such
          that his abuse of Brown would not have happened. Or,
          Bradford might have continued living in his private off-
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          campus house and had the opportunity to abuse Brown there
          regardless. The University could not have prevented
          Bradford from living in the house if it expelled him. See
          Foster, 982 F.3d at 970 (“Expulsion would not have
          prevented many of the harassing acts . . . because they lay
          beyond the school’s control.”). Here, the majority relies
          only on its own speculation about what might have happened
          if Bradford was kicked off the team earlier to conclude that
          the University controlled the context of this abuse. See
          Nelson v. Pima Cmty. Coll., 83 F.3d 1075, 1081–82 (9th Cir.
          1996) (“[M]ere allegation and speculation do not create a
          factual dispute for purposes of summary judgment.”).
              But even accepting the majority’s chain of events as true,
          Coach Rodriguez’s testimony that he would have kicked
          Bradford off the team earlier had he known about Bradford’s
          abusive behavior is again only evidence of the University’s
          control over the harasser, not control over the context. This
          is but another example of disciplinary control over Bradford,
          which is separate from the requirement that the University
          must control the context of the abuse. See Davis, 526 U.S.
          at 645.
              Third, the majority relies on an expert report to show that
          “the University had control over where Bradford lived.”
          Maj. Op. 35. But the expert report runs into the same
          problem. That student-athletes like Bradford “are told where
          they can live, where and when they will be places—
          including practices, games, housing, meals, and study time”
          speaks to the University’s disciplinary control over
          Bradford—the control-over-harasser requirement. Id. As
          the expert described, the University’s control over Bradford
          was not limited to any particular setting. If that disciplinary
          authority is enough, then the University would control
          virtually any context involving Bradford.
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              Fourth, the majority also states that Bradford lived in his
          off-campus house “with other members of the football team”
          and describes the house as a “players’ residence.” Id. at 32.
          Brown and the United States as amicus curiae go further,
          characterizing Bradford’s off-campus house as a “de facto
          football-team house” and “the team house.” The record
          belies this description. Bradford did not “live[] exclusively
          with other football players,” as the United States asserts.
          The evidence shows that Bradford lived with at least one
          non-student. There is no evidence that Bradford’s off-
          campus house was affiliated with the football team, formally
          or otherwise. Thus, the majority is wrong to say that the
          “very existence” of Bradford’s off-campus house was
          “subject to the coaches’ control.” See id.
                                       ***
              In short, the record does not show that the harassment
          here “t[ook] place in a context subject to the [University’s]
          control.” See Davis, 526 U.S. at 645. Brown was abused in
          a private, off-campus house. The University’s disciplinary
          control over Bradford supports control over the harasser, but
          not control over the context of the harassment. See id.
          Brown has shown no element of school sanction,
          sponsorship, or connection to a school function associated
          with the abuse. The harassment therefore did not “occur
          under the operations of” the University, and the control-
          over-context requirement was not satisfied. See id. (cleaned
          up).
                                        IV
              The majority’s holding rests on a theory that Brown
          affirmatively disclaimed. And that holding improperly
          conflates Davis’s control-over-context and control-over-
          harasser requirements. Bradford abused Brown in a private,
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          off-campus residence unconnected to any school function.
          Thus, the district court properly determined that the
          University did not control the context of the harassment and
          granted summary judgment.
              Aside from holding that Davis’s control requirements are
          satisfied, the majority also holds, Maj. Op. 44, that Brown
          survives summary judgment on the “actual knowledge” and
          “deliberate indifference” requirements of a Title IX student-
          on-student harassment claim. See Karasek, 956 F.3d at
          1105. The majority does not address the requirement that
          “the plaintiff must have suffered harassment that is so
          severe, pervasive, and objectively offensive that it can be
          said to deprive the plaintiff of access to the educational
          opportunities or benefits provided by the school” or the
          requirement that “the school must have caused the plaintiff
          to undergo harassment or made the plaintiff liable or
          vulnerable to it.” Id. (cleaned up). Because I would grant
          the University’s motion for summary judgment based on the
          University’s lack of control over the context of Bradford’s
          abuse of Brown, I would not reach the other requirements of
          a Title IX student-on-student harassment claim.
             I respectfully dissent.


             LEE, Circuit Judge, with whom RAWLINSON, Circuit
          Judge, joins, dissenting:
              I join Judge Rawlinson’s persuasive dissent but write
          separately to detail further how courts have drifted from the
          text of Title IX. Like Judge Rawlinson and the majority, I
          am disturbed by the facts of the case. Orlando Bradford
          rightfully received a five-year prison sentence for brutally
          assaulting his girlfriend in his off-campus house. The
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          University of Arizona administrators and employees who
          failed to protect her should also be held accountable—
          whether it be losing their jobs or facing other discipline.
              But as horrendous as the facts are, this should not be a
          Title IX case. It stretches the text and meaning of the statute
          to say that Bradford’s criminal actions—and the
          University’s oversight—amount to “discrimination under
          an[] education program or activity receiving Federal
          financial assistance.” See 20 USC § 1681(a). Simply put, a
          criminal act by a student in an off-campus house does not
          implicate an “education program or activity” under Title IX.
          I thus respectfully—and reluctantly—dissent.
                                   * * * * *
              Congress enacted Title IX to bar sex discrimination in
          federally funded schools. It states that “[n]o person in the
          United States shall, on the basis of sex, be excluded from
          participation in, be denied the benefits of, or be subjected to
          discrimination under any education program or activity
          receiving Federal financial assistance.” 20 USC § 1681(a)
          (emphasis added). Title IX has had a far-reaching and
          salutary impact in rooting out sex discrimination in schools.
          No longer can schools discriminate against female students
          in awarding scholarships or making admissions decisions
          because doing so “excludes” and “denies” benefits under an
          “education program or activity” on the basis of sex. Nor can
          schools provide more funding for boys’ sports programs than
          girls’ because athletics are an “education program or
          activity” that require equal treatment.
              Over the years, however, courts have expanded the reach
          of Title IX beyond its text. The plain language of Title IX
          strongly suggests that it bars discrimination by the school
          receiving federal funds: It prohibits students from being
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          “excluded, “denied the benefits,” or being “subjected to
          discrimination under any education program or activity”
          (i.e., it is the school that discriminates against students
          “under” the school’s policy or actions). See Davis v. Monroe
          Cnty. Bd. Of Ed., 526 U.S. 629, 659-62 (1999) (Kennedy, J.,
          dissenting). Indeed, the Supreme Court has held that Title
          IX does not impose vicarious liability on the school just
          because, say, a student discriminates against a student. See
          Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274 (1998).
              But the Court faced a set of ugly facts in Davis: A fifth-
          grader waged a terrible campaign of sexual harassment and
          abuse against his classmate, yet the school did little to stop
          it. 526 U.S. at 633-35. The Court found a private right of
          action under Title IX, holding that the student can seek
          damages from the school for failing to address student-on-
          student harassment. In other words, the Court held that
          schools in some cases could be liable under Title IX for
          harassment perpetrated by students, even though the text of
          the statute suggests otherwise. But recognizing that Title IX
          does not allow vicarious liability, the Court tried to cabin in
          that possibility by fashioning a multi-pronged test that
          required, among other things, schools to have “substantial
          control over both the harasser and the context in which the
          known harassment occurs.” Id. at 645. That “context” prong
          ensured that a school would not be held liable if a student,
          for example, harassed other students at a mall because that
          would not have occurred under an “education program or
          activity.” And under the facts of Davis, the Court’s new test
          perhaps made sense, even if it veered from the text of the
          statute: The school had notice of and control over what
          happened in the classroom, and yet did little to prevent it.
              Our case law has drifted so far from Title IX’s text that
          the majority barely discusses how an “education program or
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          activity” is implicated by a student committing a violent
          crime in an off-campus house. Instead of looking at the
          statutory text, the majority jumps straight to the Davis
          factors. The facts here, however, are significantly different
          from Davis. Unlike Davis and other Title IX cases, the facts
          here do not involve an educational “program” (e.g., incidents
          in a classroom, athletic programs) or a school-sponsored
          “activity” (e.g., school-sanctioned summer program). By
          extending the holding of Davis, the majority’s decision loses
          any semblance of a connection to the plain—or even
          strained—reading of Title IX's statutory text.
               As explained in Judge Rawlinson’s dissent, the
          University of Arizona had substantial control over Bradford
          but not the “context” in which the abuse occurred. Judge
          Rawlinson’s dissent points out that the majority effectively
          conflates the two Davis requirements—control over the
          harasser and the context in which the harassment occurs—
          to find liability by the school.
              The majority opinion cobbles together various facts to
          assert that the school had “substantial control” over the
          “context” of the abuse. First, it points out that Bradford
          could have been expelled under the football team’s strict
          rules. But the school presumably could expel any student—
          football player or not—if he committed violence against
          another student. In other words, there is nothing materially
          unique about Bradford’s status as a football player to claim
          that the University had substantial control over the context
          of the abuse. And if the ability to expel a student amounts
          to substantial control over the context, then it is tantamount
          to vicarious liability because a school can always expel any
          student committing violent crimes.
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              Second, the majority opinion argues that the University
          had substantial control over the “context” of the abuse
          because Bradford was on a football scholarship. But that is
          an odd fact to hang a Title IX claim. If a wealthy trust fund
          student assaults a classmate in his luxury apartment, would
          there be no Title IX liability for the school just because his
          parents are paying full tuition?
               Finally, the majority opinion stresses that football
          players must receive permission to live off campus. Judge
          Rawlinson’s dissent explains why that does not amount to
          substantial control over the context of the abuse under Davis.
          But stepping back to see the big picture, I do not think it
          should make much difference under the Davis’ “context”
          prong whether Bradford had the luxury of living off campus.
          Certainly, under the facts of Davis, the context prong was
          met: The harassment occurred in the classroom (and not,
          say, a shopping center), putting teachers directly on notice
          of the abuse and allowing them to stop it. But when it comes
          to physical violence in this case, I question whether it
          matters that it occurred in a dormitory room or an off-
          campus house. Unlike the classroom or a schoolyard,
          dormitory rooms and off-campus houses are private, so
          school officials do not directly observe what happens in
          those rooms and are not on notice of what may occur there.
          It thus seems odd to say that whether abuse occurred in a
          dorm room or an off-campus house should affect the
          school’s liability.
              But we are stuck with the Davis test, and we must apply
          it. And under the logic of Davis, the school did not have
          “substantial control” over the context of the abuse occurring
          in an off-campus house. This case reminds us of what
          happens when courts tinker with statutes to reach a
          seemingly just result in a particular case. No longer tethered
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          to the text, courts fashion an amorphous multi-factor test that
          leads to a fair outcome in a specific case (like in Davis). We,
          however, have to live with the judicially concocted test that
          we create. And when we have to apply that test to other
          factual scenarios, it may make little sense (like in this case).
              This is an awful case with horrendous facts. But I do not
          think it is a Title IX case under the text of the statute or under
          Davis’ judicially created test. I thus respectfully dissent.
